“’*’2°18 Case:13-14643 Doc:l Filed:Fjiri“/oz/la Page:lofse

 

 

United States Eian|<ruptc\,r Court for the.~

‘Nestem Disb'iot of Ok|ahoma

 

Case number irrknnwn):

Chapter you are filing under'.
Chapter?

Chapter 1‘E

Chapter 12

Chepter 13

EEEE.

 

 

Ochial Form 101
Voluntary Petition for lndividuals Filing for Bankruptcy mar

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may ii le a bankruptcy case together-called a joint case-and
in joint cases, these forms use you to ask for information from both debtors For example, if a form asks, “Do you own a car." the answer would he yes it
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. in
joint eases, one of lite spouses must report information as Debtort and the other a.s Debtor 2. The same person must be Debtor 1 in all of the forms.

__.l check inns is an
amended filing

Be as complete and accurate as possible lf two married people are filing together. both are equally responsible for supplying correct information |f more
space ls needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known}. Answer every
question.

ldenl.ify Yourself

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 [Spouse On|y In a .ioint case):
1. Your full name
Write the name that is on your Connie
government-issued picture Firsl name Firsl name
identificaan (for exampler your
drivers license or ass ort) Ly“n
p p ' Midcl|e name Middte name
Br|ng your picture identification to Hi|l
your meeting With the trustee Last name |_asr name
SLll|"l)< '[Sr., Jr: lll |||) Sufli)< (Sr.. .Jr, !L |l|}
2. All other names you have C _
used in the last 8 years .°'m'a .
First name l-"irsl name
|rlciude your married or maiden |_ynn
names Midcl|e name Middle name
Manzoor
test name Last name
F`rrst name First name
M`rddie name Midl:l!e name
Last name Las! name
3. Only the last 4 digits ofyour
Socia| Security number or Xxx _ XX _ i -2_ -L -2- mm xx _ _ _ _
federal lndividua| Taxpayer OR OR
identification number gm _ xx - _ _ __ _ am - m -_ _ _ _
{lTFN}
O'Ficial Form 101 Voiuntary Petition for individuals Filing for Bankn.rptcy page 1

https:!ijubi|eebi<.net!

‘H?

1011 9!2018

 

CaSe: 18-14643 DOC: 1
Debtor 1 Connle Lynn Hill
First Name |vlidd|e flame t_ast Name
About Debtor t:

4, Any business names and
Employer Identitil:ation
Numhers (Ele you have used
in the fast 8 years

include trade names and doing
business as names

5_ Where you live

B. Why you are choosing this
district to tile for bankruptcy

Ol’i“ici.ai Form 101

https:Hjubi lee bk.neU#

m l have riot used any business names or E|Ns.

i=iled: li°lr/`bz/la

Page: 2 of 56

Case number (ifknown)

Ahout Debtor2 (Spouse Onty in a Joint Case]:

EI| have not used any business names or Ell‘~.is.

 

Bushess name

Business name

 

Bus'mess name

Business name

 

 

 

 

E|N Etl~.|
EE_ _______ M________
lt Debtor 2 lives at a different address:
7301 NW 29th
Number Streel Number BU'ESI
Betl"iany, DK ?3008
guy state ziP code guy state th code
Oklahoma
County County

tf your mailing address is different from the one above,
till it in here. Note that the court will send any notices to
you atthis mailing address

If Debtor 2's mailing address is cifferent from the one
above. till it in here. Note that the court wilt send any
notices to you at this mailing addressv

 

 

 

Nun'iber Stroet Number Street

P.O_ E!ox P.O. Bo)t

City State Z|P Code City State ?_'|i=l Bode
Clieek one.‘ Checir one.'

g Over the last 180 days before tiiing this petition, |
have lived in this district tonger than in any other
district

5 l have another reason, Exp|ain_
[See 28 U.S.C. § 1408)

 

 

 

 

Voluntary Petii:ion for lnc§viduals Fi|ing for Banltruptey

El over me last 130 days before ming this petition l
have lived in this district longer than in any other
district

5 l have another reascn. Exp|ain.
(See 28 U.S.C, § 1408)

 

 

 

 

page 2

ZJ'?

 

 

10#'19»’2'313 CaSe: 18-14643 DOC: 1 Filed:FElZ'IiOZ/J_S Page: 3 Of 56
DEbi.Dr g le'lie Lyt'll'l Hi" case number fff known
|`-`lrst Namo Midd|e Narne Last Name
‘l'ell the court Ahoot ¥our Bankruptcy case
Ciiecir ana (For a brief description ot eaoh, see Notice Required by ii U.S.G. § 342{b) forindividuais Fi'i'ing for
7- ThF-‘ \f!hatf\'ler Uf the Barikmptcy{Fonn 32015}}. Aiso. go to the top ot page 1 and check the appropriate box

9,

‘f{t_

11_

Bankrupt¢:y Bode you are
choosing to file under

How you will pay the tee

t-lave you fried for bankmptcy
within the last 8 yeats?

Are any bankruptcy cases
pending or being filed by a
spouse who is not filing this
case with you, or by a
business partner, or by an
affiliate?

Do you rent your residence?

Oflicial Forni 101

https:iij uhiieebk.net!#

Chapter 'i'

Chapter 11
Chapter 12
Chaptor 13

|;||J|Jl£t

mi l will pay the entire fee when ttiie my petitinn. Please check with the clerk’s office in your tooal court for more
details about how you may pay Typica|ty, if you are paying the fee yourselfl you may pay with caah, cashier's
oheck. or money order. iiyour attorney is submitting your payment on your behalt. your attorney may pay with
a credit card or check with a pre-printed address.

El l nasd to pay the faa in installments |f you choose this option, sign and attach the Appiication for indhriduais
to Pay Your Fiiing Fee in insia.-‘imem's {Offir;ial Form 103A).

El l request that my fee be waived (`rou may request this option only ii you are filing tor Chapter ?. By law, a
judge may, but is not required to, waive your tee, and may do so onty it your income ie less than 150% of the
official poverty line that applies to your famity size and you are unabie to pay the fee in installments). tt you
choose this opticn, you must tit out tire Appiication to Have the Chaptar ? Fiiing Fee Waived (Oiiicial Form
1035) and tile it with your petition.

 

 

 

 

 

 

 

g No.
DYES- District \Nhen Case number
M|v'l t DD i YWY
Distn`ct When Case number
MM i DD i YYYY
Distn`ct When Case number
Mlvt t DD t YYYY
g No,
a Yes- Debtor Relationship to you
District When C.ase number, if i<nown
tv'||vti DD t YYYY
Debtor Relaiionship to you
Distn`ct When Case number, if known
ivth i DD t `r'Y‘r'Y

m No. Go toiine 12.
i:i Yeis. I-las your landiori:l obtained an eviction judgment against you?
U rio. en to line 12.

n Yes. Fi|t out initial Statementnboutan Eviction JudgmentAgainat You (Form 101£\) and me it
as part of this bankruptcy petition

Votunlary Petition for lndividuais Filing for Bankruptcy page 3

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1 .
°"9’2°“’ Case: 13-14643 Doc: 1 i=iied: _Fi°l'ibz/le Page: 4 of 56
DENO|' 1 C°l'll?i€ Lll"l"ll'\ Hi" Case number fi‘fi¢nonw)
Fi'rst Nan‘ie Mlddle blame Last Name
Report Almut Any Buslnesses You O\Nn as a Sole Pmprietor
5a No. Gi:i to Part 4_
1:1_ Are you a sole proprietor of

any fu|i- or part-time
business?

A sole proprietorship is e business
you operate as an individua|. and
is note separate legal entity such
as a oorporeiiori, pannership, or
l_|.C_

if you have more than one sole
proprietorship, use a separate
sheet end attach 'it to this petition

Are you filing under Chapter
11 of the Bankri.!piii:y Code
and are you a smaii business
debtor?

Fora definition of smaii Dusi}ness
debmr_ see 11 Li_e_c_ § 101(5101_

m Yee. Name and location of business

 

Name ot ousiness, if any

 

Numher Sl.feel

 

 

Ciiy stare an code

Ciieoic the appropriate box to describe your .t)tis.i`riess.1

m Heallh Care Business{as denned in 11 U.S.C. § 101{27A}}
Cl Single Asset Real Estate (as denned in 11 U.S.C. § tD1(51i3])
C} eio¢i<broi¢er gas deemed in 11 u.e_o. § 101(53Ai)

|;l Commooity Broker ies denneo in 11 U.S.C. § 101(6))

m None of the above

liyou ere Fiiing under Ci:-‘apter 1 i‘, the court must know whether you erie o smaii business debtor so trial ii can eat
appropriate deadiines_ if you indicate that you are a smell business debtor, you must attach your most recent balance
sheet. statement of operations, oash-How etaiement. end federal income tex return or if any of these documents do not
existl follow the procedure iri 11 U.S.C. § 1116{1}(5].

m No. l am not filing under Chapter 11.

n No. l am filing under Chepter iiv but| arn NOT a small business debtor according to the denniiion in the
Ban|<ruptcy Code.

m Yes. | am filing under Chepter11 and | am a smeil business debtor according to the definition iri the
Bankmptcy Code.

Rieport ii ¥ou Dinm or Have .l!m_y I'lazar¢lous Property or Any Pmperty That Needs lmmediate intention

Do you own or have any
property that poses Gl‘ is
alleged to pose a threat of
lmmina nt and ldantiliehle
hazard to public health or
safety? Or do you own any
property that needs
lmmedlate attemlon'?

l'-`orex€imple, do you own
perishable goods, oriiiiesi'ook that
must be feci, or a building trier
needs urgent repefrs?

Ofiiciel Form 131

https ::'i}ubi|eehk.neti#

m No.

U Yes. whaietne hazard?

 

 

li immediate attention is needed, why is it needed?

 

 

 

 

 

Where is the property?
Numl:ier Street
city state ziP code
Volunt'ary Petil;ion for lndividuals Flling for Bankruptcy page 4

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10!19.~‘2[}18

 

CaSe: 18-14643 DOC: 1
Debtor 1 Cormie Lynn Hil|
First Nanie Midd|e blame test Narne

Explain \'our Efforts to Rieceive a Briel'ing Al:iout Credl'l: Coun,sellng

i=iied:FfTioz/le

Page: 5 of 56

Case number iiii:nowri)

 

 

15. Tell the court whether you
have received a briefing
about credit counseling.

l`he law requires that you
receive a beating about credit
oounselhg before you die for
bankruptcy You must truthfuliy
check one of the following
choicea. ll you cannot do so, you
are not eligible to tile_

|f you lite anywayl the court can
dismiss your case, you wilt lose
whatever tiiing fee you paid, end
your creditors can begin
collection activities again

thcial Fomi 101

https;iljubi|eebk.neti#

About Bebtor 1;

You must cheek one:

g l received a briefing from an approved credit counselb'ig
agency within the 180 before l ti|ed this bankruptcy
§Iel:ll:lor'll and lt“ecei\red a certllicah of completion

stretch a copy of the certificate and the payment plan, ii
any, that you developed with the agency

n t receivieda birie‘l"ingfmm an credit oounsel'mg
agency within the 1 DtJ days before ltiled this bankruptcy
petition. but l do not havea oertilicate ofoonmleh'on.

Withi'n 14 days after you tile this bankruptcy petition, you
|v'|LlST file a copy of the certificate and payment planl it
a ny.

m l certify thatl asked for cnth counseling services from
an approved agency, but was unable to obtain hose
services during the 'i' days afterl made my request, and
exigent circumstances merit a 250-day ten'iporary waiver
ofthe roquirement.

To ask for a 130-day temporary waiver of the re»::iuii'en'ient1
attach a separate sheet explaining what charts you made
to obtain the bneling, why you were unable to obtain it
before you titled for bankruptcy end what exigent
circumstances required you to tile this case

Yoi.ir case may be dismissed ii the court is dissatisned with

your reasons for not receiving a brlehng before you filed
for bankruptcy

tfthe court is satisfied with your raascii'isl you must still
receive a bn‘ei'ing within 30 days alter you file_

Yoi_i must file a certificate from the approved agency, along

with a copy of die payment plan you developed ii any. if
you do not do so. your case may be tllsrl'iis<~:et`.ll

Any extension of the BD-day deadline is granted only for
cause and is limited to a maximum of 15 days

l_l larnmtrieqi.ciredtoreoeiveabr'tehngaboutcmdit

counseling because of'.

n lncapacity. l have a mental iiiriessora mental
deficiency that makes me incapable of
realizing or making rational decisions
about Enanoes_

My physical disability causes me to be
unable to participate in a briefing in
person, by phone, or through the
intemet, even after l reasonably tried
to do so_

l;t Aecive duiy. i am currenin on anne miiiiary duly in
a military combat zone.

l;l bisshinty.

if you believe you are nol required to receive a brieling
about credit counselingl you must file a motion for waiver
of audit counseling with the court

Voluritary Petition for individuals Filingfur Bankrupticy

Ahnui fishth [Spouse Dnly |rt a Jolr\t Case):

You must check one:

i;l

l received a brlehng from an approved credit ool.mseling
agency within the 1341 before ltiled this bankruptcy
petition end l received a certificate ofoomplation.

Attach a copy of the certificate and the payment plan, ii
any, that you developed with the agency

l renewed a briefing from an approved mdl counseling
agency within the 180 days before | fllEd this hankrl.q:tcy
petition butt do not have a certiticatie of oornpletion.

Within 14 days after you tile this bankruptcy petition. you
MUST lite a copy of the certificate and payment planl il
any

l certify that l asked for credit counseling services horn
an approved agency, but was unable to obtain those
servill¢ cli.l'ing the 7 days albert made my request, and
exigent circumstances merit a M»i:lay temporary waiver
of the requirement

To ask for a BD-day temporary waiver of the requirementl
atmch a separate sheet explaining what efforts you made
to obtain the briefing why you were unable to obtain it
before you llled for bankruptcy and what exigent
circumstances required you tro tile this ca.se.

‘i'our case may be dismissed if the o:iurt is rissatistied viiith
your reasons for not receiving a briehng before you filed
for bankmptcy_

li the court is satistied with your reasons. you must still
receive a briefing within 30 days after you tiie.

`l'ou must die a certilioate from the approved agency along
with a copy oil the payment plan you developod. if anyv ll
you do not do so, your else may be dismissed

Ai‘iy extension of the SD-day deadline is granted duty for
cause and is limited to a maximum of 15 days

l am riot required to receive a brieing about credit
counseling because of:

0 incapacity l have a mental illnessor a mentai
deticieni:y that makes me incapable o‘i
realizing or making rational decisions
about finances

My physical disabith causes me to be
unable to participate in a briefing in
person, by phone, or through lite
intemet. even after l reasonably tried
to do so_

n Active duty.| am wrreni:ly on active military duty in
a military combat zone.

l;l casualty

lt you bciieve you are not required to receive a brie§ng
about credit courseiirig. you must tile a motion for waiver
of credit counseling with the court

ease 5

5l7

1°"19*'2°‘3 Case:13-14643 Doc:l l=llecl:‘Hit)z/la Page:€olse

Debtor 1 Connie Lynn Ht|| gage number (.lr .lmgwn)
First Nan'le Middle Name Last Name

Answer These Quest:iorl.s for Report:ing purposes

163_ Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S,C. § 101 (3) as
131 What kind °`F deth do Y°l-l “incurred by an individual primarily for a persona|, family, or household purpose."
have?
El No. co to rlne 16b.

g Yes. Gc to line 1?.

15b. AFB your debts primarily business debts? Busl"ness debts are debts that you incurred la obtain money
for a business or investth or through the operation of the business or investment

[l No_ so inline 161:.

El ves_ on to line rr.

16th State the type of debts you owe that are not consumer debts or business debts.

 

11'. Are you filing under Chepller n No_ lam not filing under Chapter ?. Go to line 18.

 

 

7?
El res. i am filing under Chapter ?. Elo you estimate that after any exempt property is excluded and
D° you estimate that after administrative expenses are paid that funds will be available to distribute to unsecured creditore?
any exempt property is
excluded and administrative g No
expenses are paid that funds
will be available for ill res
distribution tro unsecured
creditors?
bd 149 El sri-lis L| 100-199 i:i 1.000_5.000 ft s,ticl-io,cuo El 25,001-50,000
18- How many creditors do roll Cl moses i;l 10,001-25,000 El sli,uoo-luo,oco
estimate that you oili'e?
El ilan than loo.ooli
Cl $o-$su`ooo El sr ,oob,noi_$in million l:l saun,ono,nol-si billion
19» HOW much do you estimate Cl $50,001 -sioo,ooli Cl $10.000.001-$50 milton Cl $1,000,000,001-$10 lillian
your assets to be worth? g _ _ . .
$1|]0,01]1-$5{]|],[)0{} l:l $50,0{](],[!01~$1!][] million n $ T'U,D|]O,UDU.OOl -$5[) bliilo l’l
El $500.001-$1 million n $100,000,001-$500 million l;l More than $50 billion
Cl $0~$50,000 Cl $1,000.001~$10 million El sabo.olib, nor -$1 billion
29A HOW much do you estimate El $50,001-3100,000 l;| $10,000,001-$50 million l;l $l.l)oo,otio.nor-$m hilton
your liabilities to be? _ _ `
m $100,001-$500,000 l:l $50,000,001-$100 million m $10,£]|]0,[}00}001-55|] billion
l:l $500,001~$1 million l;l $100,000,001-$500 million Ci inure than 1550 billion
Sign Below
Fcr you | have examined this petition and | declare under penalty of perjury that the lnfonriatiori provided is true and correct
iii have chosen to f'lle under Chapier T, l am aware that l may proceed. if eligib|e, under Chapter T, 11 ,1 2, or 13 of title 11, United
States Code_ l understand the relief available under each chapler, and Ici'ioose to proceed under Cha pier ?.
if no attorney represents me and l did not pay or agree to pay someone who is nolan attorney to help me fill out this document |
have obtained and read die notice required by 11 U.S.C. § 342{b}.
l request relief in accordance with the chapterof title 11, Uriited States Code, specified in this petiticrl.
| understand making a false statemer'il1 concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case carl result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S,C. §§ 152. 1341. 1519.
and 3571_
E>tecuted on 10”2018
MM.i DDl' YYYY
Ofliciaii Fomi 101 Voluntary Petiticn for individuals Fillng for Bankruptcy page 5

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Debto r '1

Case number irm-mmi

 

Firet Nz\i'ue Midd|e Name

For your attomey, if you are
represented by one

|f you are not represented
by an attomey, you do not
need to file this page.

 

Oft'leiai Forrn 101

Lasl Neme

|, the attorney for the debtor(s) named in this petitioh, declare that | have informed the debtor(s} about eligibitity
to proceed under Chapter ?, 11, 12. or 13 of title 11, l_lnited Statee Code. and have explained the relief
eveiiab|e under each chapter for which the person is eligiblel leleo certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C_ § 342(b) end, in e case in which § ?O?(b)(4)(D) applies, certify that l have no
knewie<!ge after an inquiry that the information in the scheduies filed wrth the petition is incorrect

x%/w @»~?A@/Wé lO/ZO '3" §

§lgnawre¢rm@|eyrornebmr mr : no rvvw

Ntery A. Trevie

F"!'it"tled |"lE me

Ii.iteirtir A. Tre\ris, Attorney at Lavv

F`rrm name

2011 Weet Dern°orth Roed #101
Nurrtber Street

 

 

 

 

Edrnond OK 7301]3
city estate zlP code
Cvnlar>t phone 405“435'6543 Email address mary@mal'¥tra"i&¢°m

 

15059 OK
Bar number State

Voluntary Petition for individuals Fl|tng tor Bankruptey page 'r'

 

 

 

 

10!‘|91'201 8 -
Case: 13-14643 Doc: 1 i=iied: ii°l'/bz/le

Debtor 1 Coi'tnie Lynn Hill

Firsl Namo |v'iidd|e Nan'ie Last Name
De btor 2
(Spouse. 'if i|ing} First l\iame lv'iidd|e blame E_ast Name
Uriited States Bankruptc:y Court for the: Westem District of Dk|ahoma
Case number

 

 

 

Ofiicia| Form 106A/B
Schedule AIB: Property

ln each category separately |ist'and describe |tems. List an asset only onoe. lf an asset his in more than one category, list the asset iri the category 1iii'here you
think it fits best. Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying coi‘_rec‘l
informationl if more space is needed. attach a separate sheet to this fomi. On the top ofany additional pages, write your name and nose number {if known}.

Ariewer every question.

Page: 8 of 56

m Checl< if this is an
amended filing

12)15

D\escrihe Each Residenoe, Building, Land, or other Heal Es{ate \'ou Dwn or I'Ia\re an lnterest ln

‘i. Do you own or have any legal or equitable interestin any iesideni:e, building, land, or similar property?

m No. Go to Part 2.

Yes. Where is the property?

1.1 Loi wine roy in eisen 'rhree m

Royce Brown's Tropicana lii'illag|e,
an addition to Bethany, Ok|ehoma
Ci:iunty, Diilahoma according to the
recorded plat thereof, known as
?801 NW 29 Street, Bethany OK

Street address il aveilable, or other

description
TB{|1 NW 29th

Be'l:hany, OK 73008
city

Oklahoma
County

2. Add the dollar value crime portion you own for ali of your entries from Part 1, including any entries for pages
you have attached for Part 1. Wr'lbe that number here. ......

Oiiicial Fom‘i 106)\'-‘\.¢‘5

https:!rjubileebk. netr#

Sl.al.c

ZJP CodE'-'

Wha‘l is the proper'{y? Check all that apply.
m Si'ng|e-fami|y horne

l;l Duplex or mult.i-unit building

Ei Condominium or cooperative

n Mani.iiac:t.ured or mobile horne

n l_arid

Ei investment property

El '|'irneshare

Ei Other ____
Who has an interest ii'i the property? Checi< one_
n Debtori only

n Debtor 2 only

l;i Debtori and Deblor 2 only
n At least orie of the debtors end another

Source of Value:
cULI nw AS$'EBBUF

St:hedule N'B: Propel"ly

Do not deduct secured claims or exemptions Put
the amount ot' any secured ciairris on Schedule
D.' Credi`tors Who Have Ciai'ms Seci.ired by
Property.

Current value of the Current value of the
entire property? porl]on you oviin?
$14?,5[!|`.|.1][} $14?',51]0.1]0

 

Descrihe the nature of your ownership interest
{such as faa simpie, tenancy by the eritiretios, or
a life estate}, if Iu'iown.

Fee Sliriple

El cheek ifihis is community property
(see inetrucl.ions)

 

_> $141,500.00

 

 

 

page 1

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io"lgi'?°“i Case:13-14643 Doc:l i=iied:Fl°ir?oz/la Page:oorse

DEiJiD|‘ 1 COE'|l'\iE Ly'l"l\‘l Hilt 03 39 number rif known)
F'rrst Narne Midcile Namo Lasl Name

` -. Describe Voill' \\'el\iclee

Do you own, |ease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a \rel'rii:it-:‘l aEso report `il on Schedriie G.' Execu'lory Corrlrac:rs and Unexpr`r"ed teases_

3. Cars, vans, trucks, lractors, sport utility vehicles, motorcycles

EI No

bid Yee

3.2 Mako: Nissan iiii'ho has an interest in the property? Check one DO not deduct Secured mal-ms m exemptionsl PH[

` Mtima m Deblor 1 on ly lhe amount of any secured claims on Scheduio
underv __ m DBMO, 2 cnw D.- creditors wire ira ve claims secured ny
Year_ 2016 i;l Debtor 1 and Deblor 2 only propeny'
l d 45850 m Al least one ol the debtors and another crth value of the current value of the

Appro)rirnale ml|oago: _--_~ entire properly? portion you own?
lower information [;l Check if this is community property 518’900'0|] $18'900’0“

 

........................................................................................... _’ 536 instructions
§.'\r'l|\i 1N4AL3AP4GC1`1916`1 § [ )

if you own or have more than onel list here:

 

3.1 |\i"la lio; Toyota Who has en lnterest in the properfy'? Checl< one no not deduct SeCured daims or exempt-toni Put
_ Prius m Debtor1 onlyr the amount of any secured claims on Schedule
Model~ _ 3 Dehtor 2 Onry D.' Credr'i'ors Who Have Ciai`ms Socured by
year 201? Ll oehrur‘r and oebior 2 onry F"'OD"~'“F~
l 13`453 EI Al least one of the debtors and another current value ofthe current value of the
Approx|male mileage: ___ entire properly? portion you own?
ether fnformatiom m Check if this is community property $20’6‘]5'00 $20’605'00

 

§,uir~i: JToKARFuaHessoooz me 'n$tmd'°"$]

 

4‘ Wafercl'al‘l., aircraft, motor homes, AT\r"s and other recreational vehic|os, other vehicles, and accessories
Exampies: Boals, trailers, molors, personal ii\r.atercrafll hshing \resse|s. snowmobiles, motorcycle accessories

MNo

 

Cl ‘i'es
5. Add the dollar value of the portion you own for all of your entries from Part 2 including any entries for pages
you have attached for PartZ. Write that number here. ... ... _) ___M_L

 

 

   

 

describe Your Fei'soi-ial and llouset\old items

Do you own or have any legal or equitable interest in any of the following items? Cun'erlt value of the
portion you own?
Do not deduct secured
claims or exemptions

6. Housoho|d goods and tumishings
Examp§es: Nlajorapp|iances, lurnilura. lincns, chinal kilohenware

 

§ NO Houso hold Goods and furniture ------ _ ----------------------- W"|
Yes. Desorlbe........ ; $?00,00
Dtlicial Form iUENB Schedule NB: Property page 2

hl'[p s :h’j ubiiee bk,r‘ieti# 2i9

103191'2018

Case:13-14643 Doc:l i=iied:{“i'/"E)z/le Page: 100r56

Debtor 1 Connia Lynn l-lil| ease number (i'fknown)

?.

'lD.

`ii.

12.

13.

14.

15.

First Name Middle blame Lasl Na me

E|ectronit;s

Examp.ies: Televieions end radios; audio, video. Stereo_ and digital equipment computers= printere. scanners: music
oo|lections; electronic devices including cell phonee, cameras, media players, games

,_
NO §'
d Yee. Descrlbe........ §Laptop` W` Ce“ phone = $250.|]0

Collectibles o'f value

Examples: Antiquee and figurines; paintings, printe, cr other artwork; booke, pictures, or other art objects;
etemp, coin, or baseball card collections other collections, memorabi|ia, coilectihles
E No

El Yes. Describe ________ ,`

 

 

Equipment for sports and hohbies

Examples: Sporte. photographic, exercise and other hobby equipment bicycles, pool tables. gott ciubs. skis; canoe-s
and kayaks; carpentry toote_: musical instruments
M No

   

 

 

 

 

 

 

L._.l Yes. Describe ........
Filearms
Examples.' Pistl:r|s. rifle$, Shc\tgune, ammunition end related equipment
g No F__,_,,…W ,~,w_~_ ............... _
m Yes. Describe ........ § _______
Clothes
Examples: Etreryday clothes. furs, leather ooats, designer weer, Shoes, accessories
§ NU r_&|$_ceganeou£:_e|_othin ....................................................................... . . .............................................................................. v_
Yes. Describe ........ g § M
Jewelry
Exampies: E\reryclay jewelry. costume §ewe|ry. engagement rings. wedding rings1 heirtoom ieweiry, watches, gems.
gold, silver
3 ND ,£é;|_vermBangml,:es“S;wer ,ne,.Ck;_aCé ,.pend;mearrm§,ls _. ,. ......... _..__.... ..__.._.._._______._..____§ 550 no
Yes. Deecribe ........ § ' ' § -r--_-_----’_
Non»farm animals
Exarn,oi'es.' Dogs, cats, birds, horses
g NO l
:lYes,Deseribe.-.....,.. ' §
Any other personal and household items you did not atready |ist, including any health aids you did not list

 

m No -~_--_Mm

l;l Yes. Describe ........

 

 

Aold the dollar value of all of your entries from Part 3, including amyr entries for pages you have attached

for Part a.write that numberhere‘+ $1.500-00

>:-'z =':‘.: Descrihe ‘{our Financial Assets

 

Oflicia| Forrn 106»5\!3 Schedule NB: Property page 3

https :i)'ju bi|eeb|<,net.l# 319

1°’“'9”29‘8 Case:13-14643 Doc:l Fiied:ii'?bz/la Page: 11 or56

 

Debtor 1 Corinie Lynn Hil| Case number (irknown)
Firsl Name Middle blame Last Name
Do you own or have anyl legal or equitable interest ln anyl of the following? Cun*ent value of the
portion you own‘?
Do not deduct secured
CiBi'mB DF BXEmD'(fDT'iS.
15_ Cash
EXBmp.lES,` l'\i"lOT'l€:')' )¢'OU have i|'l YOU\‘ Wdll€t, l!'l your l'iOITlB. li'l a Safe dEDOSli. DGX, and 0|"| l"lB.nCl thiran YOU tile YOUI'
petition
§ No 520.{]0
Yes Cash._________.___

1?. Deposils of moneyr

Exampies: Cheoking, savings or other financial accounts; certificates of deposil; shares in credit unions, brokerage houses,
and other simitar institutions lf you have muttipie accounts with the same institution list each.

' No
Yes ..................

|nstitub`on name-z

17,1. Checking account Chaso $'159.8'|]

 

i?.2. Checliing account

 

'i?.3. Sa\iings account

 

1?_4. Sail'll"lQS aCCOUFtlf

 

1?.5. Certinoates of deposit

 

1?.6_ Otner financial account

 

‘i?,?. Other financial account

 

i?_B. Other financial accou nt:

 

i?'_9_ Clther financial account

 

‘lB. Bonds, mutual funds, or publicly traded stocks
Exampies: Bond fundsr investment accounts With brokerage firme, money market accounts
iad No
l;l Yee

19. Non-pl.tbllcly traded stock and interests in incorporated and unincorporated businesses including an interest in
an LLC, partnership, and joint venture

mhlo

L] Yes. Giue specific
information about
them_______..__________

Ofncia| Form ittde Sohedule NB: Property page 4

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4!9

iDi'lQiEUiB

Case:13-14643 Doc:l i=iied:i?ii'oz/le Page: 12 ores

 

Deblor 1 Conrlie Lynn Hitl case no meter reissue
First Name Middle Nan'ie Lasl blame
20. Government and corporate bonds and other negotiable and non-negotiable instruments

21_

22_

23_

24_

?5.

25.

2]"_

Negoti'able instruments include personal checksx cashiers' checks, promissory notes, and money orders.
irion-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

El|\|o

n Yes. Gi\re specific
information about
them.,,..,,...,........
Retiroment or pension accounts
Exampies: interests in IRA, ER!SA. Keogh, 4Di{k). 403(b). thrift savings accounts, or other pension or profit-sharing plans
' No
Yes. i_ist each
account separately

Type of account institution name.'
Additione| account OK Teachers Retirement System $1.515.51

Security deposits and prepayments
Vour share of all unused deposits you have made so that you may continue service or use from a company

Exampies: Agreements wi|h landiords, prepaid rent. public utilities {e|ectric, gas, water}, telecommunications
Cot'n panles, or others

m No
n Yes .............. .. .....

Annuities {A contract for a periodic payment of money to you, either for life or for a number of years)

give

m Yes.

interests itt an education lRA, in an account in a qualified ABLE program, or undera qualified state tuition program.
26 u.e.ct §§ saoib;;n. 529A(i)). and 529{:»)(1).

m No

L_.l res

institution name and description. Separateiy file the records of any interests 11 U.S_C. § 521[c):

Trusts, equitable or future interests in property {other than anything listed in line 1), and rights or powers exercisable
for your benefit

91 rio ________________________ _ __ __ _ _ __ _ __ _ _ __
Cl Yes. Gi've specific i _i
information about them____ § 5

 

Patents1 copyrightsl trademarks trade secrets, and other intellectual property

Examples: internal domain names. websites. proceeds from royalties and licensing agreements

able

n Yes. Give specific
|ntormation about them__ __

§_ ______. _ ________ _ _____________ _ _________ __ ___

 

Licehses, frahc:h|ses, and other general intangibles

Exampi'es: Bui|ding permitsl exclusive licenses cooperative association holdingsl liquor licensee,
professional licenses
al No

El Yes.. owe specific
information about thern,..v ,-

 

 

Oflicia| Form iDSAiB Schedu|e A."El: Property page 5

htlps:.iij ul:iiieebk .n eti'# 5.¢'9

1°“"@2°*8 Case:13-14643 Doc:l i=iled:it'?oz/ls Page: 13 or 56

Debtorl Connia Hil| Case number {i'ficnowri}
First Name Nliddle Name Last Na me

28. Tax refunds owed to you

wide

0 Yes, lee specific information §|:edemk
about inern, including whether § §
you already fiied the returns §Slale:
and the tax §
years ...... . ................ i §LCCali

29. Fami|‘_\¢ir support
Exampies: Past due or iump sum alimony, spousal support, child support, maintenance, divorce settlementl property settlement
id us
";l Yes, G`rve specim: § _ .
information __________ ::A"mony'

 

§ § N'iainicnance:
§ S upporl:

|D'ivorce settlement

§Property settlement
i

 

` 30. Other amounts someone owes you

Exampies_‘ Unpaid wages. disability insurance payments disability benel`its, sick pay. vacation pey. workers'
cornpensr:ltir:inl Soclai Securlty benefits: unpaid loans you made to someone else
m No

[;l Yes, lee specific

information .......... §

 

z ..........................

31 . interests in insurance policies

Exarnpies.' Heaitil. disability oriiie insurancc; health savings account (HSP\}', creditl homeowner`s. or rerrter'S insurance

Eino

DYes. Narrie the insurance company C _ B f. . _ d { f _
or each policy and list its value '='mPE"r name ana '°'E“F- S""“i“ E' °* FE “"“' "a "E"

32, Any lnterest in property that is due you from someone who has died

if you are thel beneficiary of a living trust. expect proceeds from a life insurance poiicy. or are currently entitled to receive
property because someone has died.

g No
L..l Yes. Give specific
information ..........

 

33_ Ciaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Exampies: illiccidents. employment disputesl insurance claimsl or rights lo sue

m No _ ____ mm

n Yes. Describe each claim___,,.......,,.. §

 

Ot°liciai Fonn iUEiAl'B Schedule NB: Property page 6

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10"9'{2018 Case:13-14643 Doc:l Filed: film/18 Page: 14 01c 56

Dehtc-r 1 Connie Hill ca ge number minimal _-_______
First Name Middle blame l_aSt Nar'\e

Bd. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

MNG __.__ __ _ _____.__________. __ _

El Yes_ Doecribe each claim.__,_........... § i

 

35. Any financial assets you did not already list

Eluo

a Yes. Gl~re specific §

36. Add the dollar value ofa|l of your entries from Part 4, including any entries for pages you have attached
for part 4. Write that numberhere -) $o-U'o
________

' Desorihe Any Buslness-Relalled Property You Own or Ha\re an interest ln. List any real estate ln Part 1.

 

 

 

3?'_ Do you own or have any legal or equitable interest in any business-related property?
E£lNo. ca to Par: e.
UYes_ Go to line 38.

Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

38. Accounts receivable or commissions you already earned

g No .......... __ ........................................ . _______ _______ _ ____________ _ _______________________________________________ _

:l Yes. Describe..__.... '

 

 

33 Oflice equipment furnishings` and supplies
Examples_' Business-related computers. sofl\.irarer moderns, printers_ copiers, fax machines, ruge, telephones. deeke, cnairs, electronic devices

m NG §__________ .._____._,__ .....___.W___ _ ____. ._ . ., ___ .__ ________________ _____ ___ _ _____..w_________,..______:
Cl Yes_ oescribe....__._

‘.W...._.__,......._ ....... .._._....__ _ _ _... _ v..._. .. ...................................................... ____.._...... _______,__ _ ___________________________

40. Machinery, nxtures, equipment supplies you use in husiness, and tools of your trade

mbm _________________________ _ _ __ _ _____ __ _ ...__________ _________________________________________________ _:

n Yes. Describe ________

41 . lnventcry

Euo - . . ._ ._._

n Yes. Descril:\e..._.__.

 

42. lnterests in partnerships or joint ventures

MNQ

n Yes. Describe.......

Olflcial Form ‘T OSA."B Schedu|e A.lB: Property page 'l'

hltpe;!lj ubileebl< .net! rig

1@"9*2‘“8 Case:13-14643 Doc:l Filed:ti'l'€)z/le Page: 15 of 56

Debt°* 1 C°"“ie H"' Case number rrrkno\i»ni
First Name |\.-"|idd|e Name Last Na me

43_ Customer lists, mailing |ists, or other compilations

able

n Yes. Do your lists include personally identifiable information las defined in ii U.S.C. § 101(41A)]?

ha No 1___________ _______ ____________ __________

l;l ‘res. oescrihe..._..._

 

dl¢l~_ Any business-related property you did not already list

ml\|o

n Yes. Give speciHc
intormatlon._.....__

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here ................................... . ............................................................................................. --) $0.00

 

 

 

Descrihe A.ny Farm- and Commercial Fishing-Related Property You Dwn or I-lavo an lntorest ln.
Ifyou Own or have an interest ln farmland, list it in Part 1.
dB. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
MNO. Go to Part ?_
l__lves,, on to line dr

Curre nt value of the
portion you own?
Do not deduct secured
claims or exemptions

4?. Farrn animals
Examples_' Livestock. poultry, farm-raised Fish

m No :,_____
m Yes _________________________

  

43. Crops_either growing cr harvested

§§ No
d Yes. owe spacing
information ............. i

 

 

49_ Farm and fishing equipment, implementsl machinery, fuctures. and tools of trade
m No
n Yes

 

 

 

 

50. Fan'n and fishing su pplies. chemicals, and feed

m No
Ll Yes ..........................

 

51. Any farm- and commercial fishing-leland property you did not already list

I No
m Yes. Gi\re specific :
infon'natlon......._._... l

 

 

 

   

Ofncial Form ‘IOE¢AJ'B Schedu|e AlB: Property page 3

htl:ps;rljubil eebk .netl 8)’9

10l‘19l2018

Debtor 1 Corlnie Lynrl i'lill

52. Ai:ld the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here ..........................................................................................

First Nsrne Middle Name Last blame

Case: 13-14643 Doc: 1 Filed: ii’l'bz/le

......................................... '-)

Page: 16 of 56

Case number rif known)

 

 

$0.|}0

 

 

describe illl Property ‘l'ou Clwn or Have an ln-torest in Tha'i: You Did Not List Ahove

 

53_

54_

Do you have other property of any kind you did not already |ist'?
E)ramptes: 5easori tickets country club membership

Eiuo

[._..i Yes. Give specific
information .............

 

Add the dollar value ofall of your entries from Part ?. Write that number here

t ii List the 'l"otals of Each Part of this Form

 

 

55. Part 1: rural real estate line 2 -> !""`""""_"""""EI§`_`§§E]j"d """""" `i
rm ______ 1
56_ Part 2: Total vehicles line 5 $39,51}5_00
57. Part 3: Totai personal and household items, line 15 $1,500.00
58. Part 4: To'cai financial assets, line 36 $1,694.51
59. Part 5: Total business -relateci property, line 45 $D.DD
. 60_ Part B: Toi'.ai fami- and Eshing-related property, fine 52 $D.l]|]
61. Part T: Totai other property not listed, line 54 + $D.IJ|J
ma mm m ms 56 through 61 ______________ ""'_'_fjjjf_'a-.:;s;a ' m personal proven sue _ """" """" mesa """"" §
63 Total ofail property on Scheduie NB. Add line 55 + line 52 $19|3,199.51
Otflciel Fonn 106NB Scheduie Al'B: Property page 9

 

https:tljubileebk.nel.!#

 

 

 

 

9»"9

1°"9'20‘8 Case:13-14643 Doc:l Filed:i?i?bz/le Page: 17 or56

 

 

 

 

 

Deblor 1 Connie l_ynn l-lill
Fi`rat Narrre llrliddle Name Last Narrre
Deblor 2
lSiJOLlS€. ii lilin§l} First Nar'ne lvlidd|e Name Last Name
United States Bankruptcy Cour't for ihe: Westem District of Oklahoma
Case number n Check il this is an
iii known-n amended lilirrg

 

 

 

Officia| Form 106C
Schedule C: The Property You Claim as Exempt mine

Be as complete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Sc.lredule AJ'B: Property (Df'Ficiai Form 1DE.AJ'B} as your source, list the property that you claim as exempt. lf more space is needed, fill

out and attach to this page as many copies of Part 2.' Addifional Page as necessary On the top ot any additional pages. write your name and case number iit
known).

For each item of property you claim as exempt lieu must speciiy the amount of the exemption you claim. One way ot doing so is to state a specific dollar
amount as exempt. Al'ternatively. you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Sorrre exomptlons_such as those for health aids, rights to receive certain benefits, and tart-exempt retirement tu nds-mary be unlimited in dolar amount.
However, if you claim an exemption ot 100% of lair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount your exemption would be limited to the applicable statutory amount.

'.-; ldentify the Property ‘rou Ciaim as E)cempt

Which set of exemptions are you claiming? Check one oniy, even if your spouse is iiir`ng with you
m YOLI are C|aimirig $iate end federal nonbankruptcy exemptions 11 U.S.C. § 523(13][3)
L] You are claiming federal exemptions. ”i‘i U.S.C. § 522(b}{2)

2. For any property you Est on ScheduleAr'B that you claim as exempt1 fill in the information below.

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A.-'B that lists this property portion you own

COP‘,-' lite \'BIUE‘ FI'OI'H Check only one box for each exemption

Scireduie NB
Brief description: g $@ g Ok| 5lal t`l 31 §§ 1(A)(1} {2)

a_ _ l _ ,
Lot Nine {9) in Blocii Three (3) Royce Brown's $14?‘5{]0.00 ` 0
' Tropicane Vil|age, an addition to Betheny, L.i 100% of fair market i.ra|uel up

Ol<lahorna County, Okfahorne according to the to any applicable statutory limit

 

recorded plat lherool, Known as ?801 NW 29
Street. Eleihany OK
ram Nw zero eeihany, or< races

 

|_ine from
Sche-duie Ar"B.' 1 .1

 

 

Briefdescriptiom bd r Okl star ri 31 1 n 13
. . . l ,

2017 TEl},rOiE Pi'i|.|$ 320_50500 s 1500-00 a § f if §

viN;JTor<ARFusi-issaaooz Ll 100% affair market value, up

 

to any applicable statutory limit

 

|_irre from
Sche-du.‘e ArB: 3.1

 

3. Are you claiming a homestead exemption of more than 5160,3?'5?

(Subjecl to adjustment on 41\’0'1/19 and every 3 years after that for cases filed on or after the date of adjustment.}

m Ncr
n Yes. Did you acquire the property covered by tire exemption within 1,215 days before you filed lhis caae?
m l~lo
C] Yes
GFHcia| Forrn 1060 Schedule C: The Property You Ctaim as Exempt page l of _2_

hit ps‘.f)'jubilee l::-k. neu'# 1!2

 

10”9"2018 Case: 13-14643 Doc: 1 Filed: WE)z/la Page: 13 of 56
Debi.or 1 Connle Lynn Hil| CasE number {rficnown)
F':rsl Narne Middle Neme Lasl Name

Addi‘lional Page

\.= z..<'.. .`.f=

. Brle‘f description of the properly and line on
Schedule NB that lists this property

Bi'i'ef descrith or|.:
l-loueehold Gc)ocls and furniture

Currenl value of the Amount of the exemption you claim Specil`lc laws |hal allow exemption

 

 

Llne from
Sc;hedu.'e AK'B,' 6

Brief description
Leglo;_)l T\f, Cel| F'hone

 

 

 

 

 

Line from
Scliedw'e AFB: 7

Bri er descrith orl;
Nliscel|an eeus Clol_hing

 

 

 

portion you own
Copy the value from Chec§r only one box for each exemption
Schedule AFB
5?00_00 bd $?0@_00 ema. 3m m. 31 § mm
l_l 100% or fair market value, Up
to any applicable etetulory limil
Okl _ _ ' , 1
$250`00 Ql $250`00 a aim m 31 § {AJ{::}
U 1[![]% of fair market valuer up
to a\n\_\¢r applicable slalutory limit
5500_00 bd 5500_00 okla am m. 31 § lm)m

 

 

l_ine from
Scheduie A,-’B: ll

Oflicla| Forrn 1060

hltps'.hiubiieebk,net/#

 

m 100% of fair market value, Lip
to any applicable etalulory limit

 

 

Schedule C~. The Properly You Claim as Exernpl page g of g

2f2

 

 

 

1011 91'2018 . F
Case: 13-14643 Doc: 1 l=lled: 11762/18 Page: 19 or 56
Debtor 1 Connie Lyrln Hill
First Name Midd|e Nan'le i_ast Nan'le
Debtor 2
(Spnl_lse, if filinng First Name l\llidd'le blame l_ast Narne

United States Bankt'uptcy Courl lor the:

Western District of Dlrlahoma

 

C ase n um ber
(il known}

 

 

 

Otl`lcia| Form 1060

U check lrlrlls rs an
amended filing

Schedule D: Creditors Who Have Claims Secured by Property lens

Be as complete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct information lf more
spaoe is needed, copy the Additional Page, till lt out, number the entries, and attach it to this fotm. fin the top of any additional pages, erte your name and

case number [if known].

1. Do any creditors have claims secured by your property?
Ll No, Check this box and submit this form to the court with your other sch edu|es. You have nothing else to report on this form_

E§Yes;_ Fll| irl allot the information below_

l.lst All SEcured Claims

 

2. List all secured claims. lt a creditor has more than one secured claiml list the creditor separately for Cotumn A
each claimY If more than one creditor has a particular claim. list lhe other creditors in Part 2. As much Amnum ar claim
as possible list the claims in alphabetical order according to the creditors name_ 50 mt deduct the

Cornmunication Federal Crel:lit Union
C»rsclitor's blame

4141 NW El<pressway 200

 

 

Nu moor Street
Oklahoma Cily. OK 73116
clly slate zlP code

W o owes the debt? Check one.
Debtor 1 only

[_`] peoth 2 only
n Debtor 1 and DeblorZ Ol"l|y
m At least One of the debtors and another

Cl check rr this claim relates to a
community debt

Date debt was incurred
Seg 29, 2013

value ot oo|lateral_

Des¢:ri|:le the property that secures the claim: _______ $25.948.44
2016 Nissan Altirna

 

  

`e"`§Ei`j"r`l`lé`,`"i`iié"él`é_l"rl`l`"l`é`§"r`§`l`l'é,¥`l§`l`<"§`li"il`l§`i'§'p`§ly.

;l Contigent
U unlquldated
l;.] Displ_ited

Nature of lien, Check all that apply

MAn agreement you made {such as mortgage or
secured car |oan}

iJStatolory lien touch as tax lien1 mechanics llen)
l:lJudgmenl lien from a lawsuit
ElOti'ler (l'ncludirlg a right to offset)

Last 4 digits of account number _ __ ._._. __

Add tile dollar value of your entries in Column A on this page Write that number here: $25.948.44

Otfic'la| Fcrm 1060

hitps:t!jubi|eei.ll<.rlel;.l‘i’rt

Scl'ledu le D: Creditors Who Ha\.le C|aims Secured by Property

Cotl.rrn'n 5 Cotumn O

Velue of Urlser:ured
collateral that portion

supports this |f any
claim

$1$,900,00 $?,046.44

page 1 of 2

1l’2

 

10119)'2018 .
Case: 16-14643 Doc: 1 l=lled: 117'62/16 Page: 20 or 56
Del‘.ltor 1 Cor'lnie l_ynn Hill Case number (r'r knollm)
First Nal'ne Middle Narne Last Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ _ Colulrln A Column B Cotl_lmn C
ndd't'°“al page Amount of claim Value of Ll|nsecl.lred
After listing any entries on this pa|e, number them beginning Do nol deduct the Cvllaiefallh_af lmrliv"
with 2.3, followed by 2.4, and so iorth. value ofcollaterai. eitan fh"~" llany
c elm
Ml'. Cooper Mortglage EDesl';nbe the propertyt_i_‘lat secures the clalm. $116,504.42 $147,500_00 $U.OU
erecer Name |_ot Nine {9)' lrl Block Three (3} Royoa Brown‘ s §
PO BOX 619094 Trcpicarla \r'=.,||age an addition to Bethany, Oklahoma§
Number Street County, Oklahome according to the recorded plat `
Da"as‘ TX ?5261_9094 thereof known as 7801 NW 29 Street. Belharly OK
City wm z,P Code rem lilly zon eeaany ol< 73008
w o owes me deb{? Check ana As of the date you file the claim is: Cher:t< all that apply
ocbror l only l_l Ccnllgcnl
[l Dehtor 2 only m t_lnlquidatcd
il Debtor 1 and Debtor 2 only `;] Disputed
UAt least one of the debtors and another Na¢ure of|ien, Che¢-,l¢ all that applyl
L_lCh'ECk ifll‘||S Clalm mlal€$ to 3 An agreement you made (sl_lch as mortgage or
community dahl secured car loan)
Date debt was incurred ElStalutory lien lsuch as tail lien‘ mechanics |ien)
JU| 20' 201? DJudgrnent lien from a lawsuit
mOther {including a right to offset}
Mortgage
Last 4 digits of account number ?'_ 1_ 8_ ?_
services Tnycra Flnanclal pl=.\ccnr:lc_l_l_gg1 pmpeny trial cccurcc mc claim sae.asr.sa soon sza.esr.sa
Creoilore Name
PO BOX 5555
Nc miner sirch
Cami Stream: "_ 601 9? ns of the date you file, the claim let Checlr all that apply
cry stale zlP code Elccnllgcnt
o owes the debt? Ehecl< orle. bd t_lnlquidated
Debtor1 only L_JD_ t d
s l_l e
l;l Debtror 2 only r p
__ Nature of lion. Cheol< all that apply
l_] Deblor 1 and Debtor 2 only m
nn agreement you made {such as mortgage or
Cl At least one of the debtors and another secured Car |oarl}
[;l Ch€cl< if this G|aim relates 10 a ElStatutory lien (s uch as ta.>l lien, mechanics |ien}
commumty debt i;lJqugn'lenl lien from a lawsuit
Dal€ debt W¢'*S incurred Ll Olncr rlncluding a righl lc orfccl)
Jul 01 , 201?
Last4 digits of account number _6__ 4_ _jlt__ L
Add the dollar value ot your entries in t}olun‘ln A on this page Wrile that number here: $145,392.10
lt this is the last page of your fonn, add the dollar value totals from all pages. Write that number $1?1 ,340.54
here:
Oflicial Form 1060 Additiona| Page of Schedule D: Creditors Wllo Have Claims Secured by Property page g ot 2

h ttps:!tjubileebk. net.l#

2t2

 

 

 

 

1'[]if 191}2018 .
Case: 13-14643 Doc: 1 l=llecl: 1178)2/18 Page: 21 or 56
chlclr 1 Connic Lynn Hill
First Nsn'le |l.'liddle blame Lasl Name
Deblor 2
(Spouse, il l'l|ing} First Narne Nliddle Narr\s Last Noma

United Stales Banl<ruptcy Court for the'.

Western District of Oltlahoma

 

Case number
(if known}

 

Cl check ir mrs is an
amended tiling

 

 

Official Form 106|':")'}:

Schedule ElF: Credil:ors th Have Unsecured Ctaims

12l15

Be as complete and accurate as possible_ Use Parl:1 for creditors with PR|ORITY claims and Part 2 for creditors with NONPR!O RlTY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Scheo'ute AJ'B: Property {Otl‘icial Fom'l
106A."B] and on Sr:hedtri'e G: Executory Contrects and Unexp.lred l_eeses {thicisl Form 1066}. Do not include any creditors with partially secured claims that
are listed in Schsdule D: Credil‘ors Who Hold Clar'ms Securedby Pmperty. hc more space is needed, copy the Part you need, lil| it out, number the entries in
the boxes orr the left. Attach the Continuation Page to this page On the top ofarly additional pages. write your name and case number {if known).

List All cf \'our l*RlORlT‘l' Unsecured Cl.airns

 

1. D any creditors have priority unsecured claims against you?

NO. 130 T.O Pal‘l 2.

U ch.

2. Lisl all of your priority unsecured claims. ll a creditor has more than one priority unsecured claim, list the creditor separately for each claim_ For each claim listed
identify what type cl claim it is. ll a claim has both priority and nonprioriry amounts list that claim here end show both priority and nonpriority amounts As much as
possible list the claims in alphabetical order according to the credito r‘s name if you have more than two priority unsecured claims, l‘lil out the Continuation Page of
Part 1. if more than one creditor holds a particular claimr list the other creditors in Part 3.

(For an explanation of each type of claim. see the instructions for this form in the instruction oook|et.}

 

 

 

 

 

cho] claim Prlurity Nonpr|or'lty
amount amount

La t4 cl` 'ts of t h -

Priority Credl`tor's Name 5 lgl accmn nom ar
When was the debt incurred?

Number Slreet As of the date you file, the claim is: Cl're.ck all that
apply
El Conlirlgent

. 5 [__| unllqnldated
:;l‘:r tate Z|P Code [_l D.Fspmed
o incurred the deht‘? h .

13 Debmr 1 amy C eck me rype of PRloFtlTr unsecured claim:

U Demor 2 mw n Dorncstic support obligations

m Debtor .| and Debior 2 only Ll Taxee and certain other debts you owe the

Ll At least one ot the debtors and another 9°“'_`°“`mmem _ _ _

n check ifthis claim is for a commun“y debt l;] Cialms for death or person injury willie you were

_ _ intoxicated

ls_ the claim subject to offset’? n Other_ SDeCify

Ll No

El Yes

Dflicial Forrn 106EFF Schodi.lle Ei'F: Creditors Who Hal.'e Unsecured Claims pagel of 4

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1)`4

‘lOHQFZO‘lB

Debtor 1

 

Case: 13-14643 Doc: 1 i=ileci: i?L“?bz/la
Connie L'_\tnn Hill
F`trst blame Micldle Name Lz-i$l Narrie

< List All of Vour HGHPR|QRITY Llnsecured Clalms

Page: 22 of 56

Case nu m her flrknown)

 

3. Do any creditors have nonpriorily unsecured claims againal you?

L] No, Yot.l have nothing to report iri this part Submit this form to the Cour‘t Witl'i your olher ach edules.

m ‘i'es_

List all of your nonprlotity unsecured claims irt tha alphabetical order state creditor who holds each claim. |f a creditor has more than one nonprion'ty
unsecured C|aimi |`ISI the creditor separately for each cialrn. For each claim listed. identify what type ct claim it ls_ De riot list claims already included in Part1_ lt
more than one creditor holds a particular claim list the other creditors in Part 3_ lt trott have more than three nbnprit:ritgil unsecured claims fill out the Contiriuation

Page of Part 2.

 

 

 

 

 

 

 

 

 

 

Tota,l claim
Ameriwl Exoress Last 4 digits tit account number root $11963-51
' Nonpriority Credilcl’s Neme
pa Box 656“3 Wf'ter\ \i\ras the debt incurred?
Number S“-eet As t'.'rltl'te date you file. the claim ¥s: Check all that app!y.
oalias, rx rszss-o-t-ts lJ Cc)ri litigant
Cilr State zlP code 3 unliquidated
Who incurred the debt'? Check one g Dlsp"ted
Dehtur l Dl'll\,¢' Type of NONPR!ORF|'Y unsecured slaim:
m Debtit)r 2 oi'll;.-l El Student loans
m Debtor 1 and Debtor 2 only n Obligaticins arising out of s separation agreement or
n A.L least one cf me camera and another divorce that you did not report as ;_irit:rrit)r claims
. . _ _ l:l beth to pension or profit-sharing plans and other
cl Gheclt ifthis claim is for a community debt Similar debts
is the ciaim subjecttn austin hill othar. specify
` NCJ CNClll; Card
-‘_'.] tree
Bank at America MaslierCard Last 4 digits of account number 5625 ___$15'153-24
|`~lor\pricit'it}il Credilor$ Name
P° an 351001 When was the debt incurred?
Number Slreet As of the date you file,l the claim is: Check all lhat appfy.
Daiias, T)c 75235-1001 [] COnlirttiGr\t
city sale zip catt- El unliquidated
who incurred the debt? check tma '-l UFSD'HEC‘
g DEthl' ‘l Ortl§r TYPE 01 NONPR|ORIT'Y unsecured nlaim;
l_] Debtar 2 only U Sllidel'|l an|"lS
n Dehtor '1 and Deblgr 2 only L...l {flb|igations arising out ot a separation-agreement or
n M least one of the debtors and another U divorce that you did not report as priorityl claims
. . . . Debl.a to pension or profit-sharing plans‘ and other
l:l Chec!t ifthls claim is for a community debt S|m" ar deth
ls the claim subject to offset'? w Clther, Specily
No Cret:lit Card
n Yes
Bank of America 'u‘isa Last 4 digits of account number 4395 $7'?05'92
Ncinpri'ority Creditor‘a Name
Po 501 851 o 01 Wheri was thel debt incurred?
Number gram As of the date you ti|e, the claim |s: Chat:k all that apply
Daitas, Tx 75235-1001 cl Centine@nt
atty state ziP code =_.l Urtlictuidated
who incurred the deht? check ona L.] Dispiitet;i
ngtoi- 1 amy Type bi NDNPRlDR|T‘i' unsecured claim:
\___l gamm- 2 On|y i_] Student loans
n DEhtm 1 and newell 2 On|y [..l Obligations arising out of a separation agreement or
n At least orie of the debtors and another |.`. divorce that you did not m port as priority dam-ls
. . . . _ ._l fleth to pension or profit-sharing plans, and other
U Chet:lt rf this claim is for a community debt similar debts
ls the claim subject tooffset? g Otl`|er. Specify
- No Credit Card
Cl Yes
Of'ficia| Furm 106Ei'F Schet:[ule Ei’F: Creditors Wht) Have Unset:ured Ctatms page 2 of 4

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2!4

 

 

 

 

 

 

 

 

‘l{)i19i20‘l B . 5
Case: 13-14643 Doc: 1 i=iied: ‘1'762/13 Page: 23 or 56
Debtor 1 Connin Lyrin Case number firingqu
First Narrie Mir;idle Name LEiSl Name
‘I'our NBNFR!URIT‘I' unsecured l.`»laims - Continuation Page
M'ter listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forlh. Tota| claim
Bank ofAmerlcan Rewarcis MasterCard t_ast 4 digits of account number 6?95 $296'43
Nonprierity Criodiinr‘s Name h _
P° sex 851001 Wheri west o debt incurred?
Number Slreel As of the dale you file, the claim ls: Cl"ieck all that apply_
uaiias, Tx rszas-iooi L_i coniing@ni
Ciiy stare zlP Code [l unliquidated
Who incurred the debt? Check one El Dispi.ited
g Dabtoi' ‘l only Typo ot NONPRIOR!TY unsecured clairn:
:'J Debtcir 2 only '_l Student loans
;l Dablor i and Debtor 2 onlyr Ll Oi:iligations arisin out of a se araiion agreement or
_ 5 F’ _ _ _
i:] At least coe 0¢ the debtors and another divorce that you did nut report as priority claims
m Check mms dam is fora community dam El Debts to pension or prom~si‘iaring pians. and other
Similar debts
ls the claim subjecfto easet? g Other' Specify
§§ rio credit card
ll Ves
_5 - ss,43r_54
B*=S=_B'g'¥ C"i°_"f Ca'd Lasi 4 digitsv oraccouni number
Ni:inprionty Credilors Name
po Box gum 007 When was the debt incurred?
Numi:ier Streei As or the date you fi|e, the claim is: Check ali trial applyl
i__nuisviiie, ior aozsn_wi)r \;i comingem
0in Steie Z|F’ Code m Un|iqu|.dated
go incurred the debt? Che:;k one_ m Di-Sputed
_ D'?m°' 1 '3"'>' Type orrioNPRioRiT~r unsecured claim:
Ll Debier 2 onlyl C] Siudeni loans
"_-l Demc" 1 and DEbt°' 2 “""lY 0 Oi:i|igai.ioris arising out or a separation agreement or
g At least Bne Oi the debtors and another divorce that irou did riot report as priorityl claims
C] gheck ifthis claim is for a community dam m Debts tci pension or profit-sharing plansl and other
f th l b 9 similar debts
ja e cia m Su lsd to offset. g ethan Speciiy
Na Credit Cal'd
u Yes
Ol"Ei:ia| Form 106E.FF Schedl.ile Ei'F: Cieditors Who Have Unsel:ured Clairns page 3 of 4

https :ifiui:i`i|eebk. netr#

3.¢'4

10!19!2018

De btor 1

mild the Amounts for anh 'l'ype of t.lnsecurel:l Claim

CaSe: 18-14643 DOC: l

Conn io L‘_i,rnn Hill
First blame ltiliddle Name Last Namo

i=iied: i?ii‘bz/la

Page: 24 of 56

Case number (r'fknoiirril

6. Tota] the amounts of certain types of unsecured olaims. Thls information is for statistical reporting purposes on|y. 28 U.S.C. §159. Add the amounts for each
type of unsecured elairn_

'l'otal claims
from Part 1

Total claims
from Part 2

Officia| Form 105Eii-`

https:iliubiieebi<,netr‘#

6a Domastic support obligations

Bb_ Taxes and certain other debts you owe the
government

GC. Claims for death or personal injury while you
were intoxicated

6d. O'ther. Add all other priority unsecured Clairns.
Write that amount here.

oe. Total. Add lines 6a through Sd.

Bi. Student loans

tig. Ob|igatlons arising out of a separation
agreement or divoroe that you did not report
as priority claims

on Dabts to pension or profit-sharing plans, and
other similar debts

Si. Other. Add all other nonpriority unsecured
claims Write that amount here

Sj. Total. Add lines Eri through Gi_

Ba.

Bb_

511

Bd.

SB.

Gf.

eg.

Sh_

Gi.

tij.

Total claim

$0.00

5000

$D.'|]£l

$0.|)0

 

 

$0.00

 

 

‘t`ota| claim

$l`.|.l]l}

$D.l](l

$i]'.[l[l

$30,5\30.64

 

 

$3|],5 30.64

 

 

Scheidu|e Ei?: Credltors Who i-lave Urisec:ured C|airna

page4of4

4a

‘°"9'2°18 Case:13-14643 Doc:l Filed: 1':1%5‘2/18 Page: 25 01°56

 

 

 

 

 

 

m {
Debtor 1 Cormle Lynn Hill
First Name lu'|icidie Narne Laet Name
Debtor 2
{SDOUSE. if ii|ing] First Narne Middle Nan'lo i_ast Name
United Slates Ban|<ruptcy Court for ther Westem District ot Ok|ahoma
C.'ase number m Check if this is an
tit known} amended lilirtg

 

 

 

Otficial Form 1066
Schedule G: Executory Contracts and Unexpired Leases wis

Be as complete and accurate as possible lt two married people are filing together, both are equally responsible for supplying correct information lt more
space is needed, copy the additional page, till lt out, number the entries and attach it to this page On the top of any additional pages, write your name and
case number {lt known).
1 . Do you have any executory contracts or unexpired leases?
i~lo, Check this box and ute this form with the court with your other eched ules. 't"ou have nothing else to report on this form
C|Yes. Fiil in ali of the information below oven if the contracts or leases are listed on Scheo‘uie AJE: Properfy (Official Form tuoan).
2. List separately each person or company with whom you have the contract or iease. Then state what each contract or lease la for {for examplel

rent, vehicle lease. cell phone]. See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
leases

Person or company with whom you have the contractor lease State what tha contract or lease is for

2.1

 

Narne

 

Number Sireet

 

 

 

 

 

City Siate Z|F' Cocie
2.2

Name

Number Stroet

City Staie ZiP Code
`2.3

Narne

 

Number 3 treat

 

City State Z|iJ Code

2.4

 

blame

 

Number Streel

 

Cily State Z|P Code

2_5

 

|\iame

 

Nurrtber Street

 

City State ZlP Code

Ofiiciai Form 1065 Schedule G: Executory Contracts and Unexpirecl Leases page 1 of j_

https:iijubi|eebt<_netl#

 

 

 

 

1 011 9!201 8 .
Case: 13-14643 Doc: 1 Filed: itr?bz/la Page: 26 of 56

Debtor 1 Connie Lyrm Hill

First Narne Nliddle blame Last Name
Debtor 2
(Spouse, if filing\ First Name Nlidclla Name tast Name
United States Bankruptcy Court for the~'_ Westem District of Oklahoma
Case number ll Chec:k if this is an
till<nown) amended lilllig

 

 

 

Official Form iOGH
Schedule l'l: Your Codebtors 12:15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible ll two married people are l'lling
together, both are Equal|y responsible lor supplying correct information lt more space ls needed, copy the Addltlonal Page, fill it out, anr.i number the entries
in the boxes on the left. Attaoh the Additional Page to this page. Or\ the top of any Additiorral Pages, write your name and case number (lf known]. Answer
every questionl

1.

2_

w
'_.

Do you have any uodeb‘l;ors? {lf you are filing a joint Case, do not list either Spo\.ise as a Oodeb|or.}
w No

L;] Yes

‘Within the last 8 years, have you lived in a community property state or territory? ( Commumty' property states and territories include Arizona. Califomia,
|daho. Lol.lislana, Neuada. New Me)<ioo, Puerto Rioo, Texas, Washingtc-n, and W|si:onsln_}

5a No_ Go to line 3.
EYas. Dici your spouse former spouse or legal equivalent live with you at the time'?

mbta

DYes_ |n which community state or territory did you |ive? __,_______________ l-'i|| in the name and current address of that person.

 

blame

 

Number Streel

 

C`¢ly SlEtIB Zl F' CDdE

ln Column ‘t, list all of your codehtors. Do not include your spouse as a oodebtor if your spouse is tiling with you. List the person shown in line 2 again
as a eodebtor only if that person is a guarantor or cosigner. N!ake sure you have listed the creditor on Schedule D {Crllicial Form 1UGD). Sl:hedui'e E)‘F
(Otflcial Form 1l}E`rElF]1 or Schedulo G {Officia| Form 1066}. l.lse Schedule D, Schedule EFF, or $chedule va till out Coll.lmrl 2-

Column 1: Your oodebt,or Cotumn 2: The creditor to whom you owe the debt
Checic all schedules that apply:

Ll Sl:hedu|e D, line

 

 

 

blame l;] Schedu|e Er'F. line
Number Slreet Cl SEhedule G, line
City Stafe ZlP Code
Ol"licial Form lUBH Scheclu|e H:‘I'our Codebtors page 1 c-f 1

htlps :r‘fjuhi|eehk.neu#

'lf‘l

*°“9'2°15 Case:13-14643 Doc:l i=iieci: 1Ff/E5'2/18 Page: 27 oi56

 

 

 

Deotor 1 Connie Lynn Hill
Fir‘st Nan"ie |'u"[iddle Name Lasi: Name
Debtor 2
{Spouse. if n|ing} First Name Micid.lo Name Lest Name
Uniieo States Bankrupicy Couri tor the: Western District of Ok|ahoma

 

Case number
fit known)

 

 

 

Oiiiciai Form ‘iOG|
Schedule l: Your lncome

Checi< if this is:
glen amended filing

gift supplement showing postpetition
chapter 13 income as of the following date:

MM l DD f YY‘(Y

12}15

Be as complete and accurate as possiblel if two married people are filing together {Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information ifyou are married and not tilng jointiy, and your spouse is living with yo u, include information about your spouse |f you are separated and your
spouse is notl'iling with you, do not include information about your spouse. if more space is needed, attach a separate sheet to this lorrn. On the top of any

additional pages write your name and case number {if known}. Answer every question.

Describe Emplo_yment

1. Fill in your employment

 

 

 

 

 

 

 

information. Dei:rtor 1 Del:rtor 2 or non-filing spouse
li YUU have more man Dne lObi Empl¢ti`mel'|t St»al?l-|-°~ MEmpEoyed l..l Not Empioyed l..] Empioyed n Not Ernployed
attach a separate page with
information about additional man Manager
employers _
Occupation
lnclude pan time1 59350"3|` or Clklahoma Studont |_oan Authority
stott-employed woric. Emp|oyei's name
y _ 525 Central Park 600
Oc¢upafion mar include Student Employer.s address timber street homer street
or homemaker} if rt applies
Okiahoma City. OK 73105
City State Zip Code City Stale Zip Code

How long employed thare? 6 months

Gl\re Dietails Ahout llonthly lncome

Estimate monthly income as of the date you file this form. if you have nothing to report for any iine. write $0 in the space include yoor non-filing

spouse unless you are separated

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines beiow. lt you need

more space, attach a separate sheet to this form_

For Debtor 2 or
non-filing spouse

 

$O.Ul]

 

+ $C'.UO

 

 

 

 

 

5000

 

 

 

For Debtor ‘i
2. List monthly gross wages, salary. and commissions (before ali payroll
deductions.} |f not paid month|y, calculate what the monthly wage would 353 214-53
be.
3. Estirnate and list monthly overtime pay. 3. + 5245_45
r.i_ Ca|culate gross income Add line 2 + line 3. iii $3,460.09
Ottic`i€il Form 1l]l5l Schel:lule l: Your income

iittps:!iju bi lee bk.rieti‘#

team

11“3

10!19¢'2018

Case: 13-14643 Doc: 1 i=iled: fit'/iiz/le

 

 

 

Page: 28 of 56

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor ‘l Connie Lynn Hill Case number {i'i'known,l
First Name h-lidciie Nar'ne Last Narne
For Debtor 1 For Deb'tior 2 or
non-filing spouse
Copy line 4 here -» 4. $3.460`09 50.00
5. List all payroll deductions:
5a Tax, Medicare, and Socia| Securtty deductions 5a 356?‘59 $O-OO
Eb. lilandatory contributions for retirement plans 511 $0‘00 $O~OD
5c. Voluritary contributions for retirement plans 5.;;_ $26910'9 $O-C'O
oct Requirod repayments of retirement fund loans 5.;4` 550-90 $'9'09
5e. insurance 5@_ $325.45 $0.00
5f. namesth support obligations 5§, $9-09 $0-99
sg_ union dues 59_ $O-GG 350-09
5h. Other deductions Spec'riy; See additional page 531 $43'72 + $0‘00
6. Add the payroll deductions Aidd lines 5a + 5b + 50+ 5d + Se+Et+Eig + Sri. B. $1=206.8|3 $0.00
`i’. Caiculata total monthly take-home pay. Su btract line 6 from line 4. ?. $2.253.24 $0.00
B. List another income regularly received:
n Ba. Net income from rental properly and from operating a business,
profess ion, or farm
Al:tach a statement for each property and business showing gross
reoeipts, ordinary and necessary business ex pen ses, and the total
monthly net inoome. Ba' $0'00 $0'00
eb_ interest and dividends Sb- $0-99 $9-90
Bc. Famiiy support payments that you. a non-filing spouse. or a
dependent regularly receive
include alirrlonyl spousal supportl child aupport, maintenance divorce 36 $U.DU $0.0t]
settlementr and property settlement gd' $G_DD $0_00
ed . unEmPlO]l'i'l'lEi`l\ OUI'l‘lpEl"ISat.iUi'l ae- $U‘DG $000
Be. Social Security '
B!. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash
assistance that you reoeive, such as food stamps {benetits under the
Su pplementat Nutn`tion Assi stance Program] or housing subsidies ar _ supp $n_gn
Speoify: Bg_ $D.UD $O_OO
Bg. Perision or retirement income Bhl $g'gg + $g`gg
Sh. Other mentiin income Speciw;
B. Add ali other income. Add lines Sa + 8b + Bc + Bd + Be + Bi +Bg + Bh. 9. $D,OU $U.DO
‘lD. Calculai.e monthly incon'ie. Add line ? + line 9_
Add the entries in line 10 for Debtor ‘i and Debtor 2 or non-filing spouse 10_ 52,253.24 $U.E]D = $2.253.24
11. State all other regular contributions to the expenses that you list iri Sched'ule J.
include contributions from an unmarried partner, members of your householdl your dependents your roommates. and other
friends or relatives.
Do not include any amounts already included in lines 2-1 0 or amounts that are not available to pay expenses listed in Scheo'ule J.
Specify: 11 . + $D.Ol]
12, Add the amount iri the last column of line 10 to the amount iri line 11. The result is the combined monthly income. Write
that amount on the Surnmary of Your Assets and Liaoili`tfes and Cariai'n Srat.-'ari'cal informari'on, if it applies 12. $2,253.24
Con'ibined
monthly income
13. Do you expect an increase or decrease within the year after you tile this fom'i?
m No_
miles Exptain:
thcial Fon'n 106! Schedu|e l: Yourincome page 2

https:i'liubi|eebk.netil#

2123

10119!20‘¥8 .
Case:13-14643 Doc:l Flled: 5°17`02/13 Page: 29 of 56

Deblur 1 Cnrlnie Lynn Hill Case number (if known}
F-'ir${ blame Mldd|e Name Last Name

 

 

 

 

Amount
Sh. Othar Deductions For Dabtor 1
Denta| $36.44
Charitable contributions $21.85
\
Offlc'ra| Form 106| Schadu|e l: ‘l"our income Dage 3

ht§ps:!:]ubileebk.netf# 3."3

10!191"2018

 

 

 

. Fe
Case: 13-14643 Doc: 1 Flled: 11702/18
Debter 1 Connie Lynn Hill
First Name |'uliddle Name Lest Neme
D€bir.‘sr 2
(Spnuee. if filing} First Neme Midd.le Name Last Neme

Cese number
(if knownl

 

United Brales Beni<ruptcy Court for the:

Western Distrlct cit Oiclahoma

 

 

Ofiiciel Form 106J

Schedule J: Your Expenses

Be as complete and accurate as possihie. if two married people are filing tugether, both are equally responsible for supplying correct information ll more
space is needed. attach another sheet to this lorm. Dn the top of any additional pages, write your name and case number (if known). .Answer every ql.iesticlnl

Descrlhe \'uur l'lnuselmicl

1. ls this a joint case?

MNQ` Go to line 2.

DVes. Doee Debtor 2 live in a separate household?

UNC-

Page: 30 of 56

Check if this ie:

UAn amended liling

m A supplement showing postpetition
Chepler 13 income as of the following dale:

N'lhi'l f DD:‘ YYYY

UYe.-s. Debtor 2 must file Of'iicie| Form 1063»2, Expenses for Seperete Househoid of Debror 2,

2. Dci you have dependents'?

DO not list Debtor ‘l end
Deblor 2_

Do not stale the depend ents'
flameS.

3, Do your expenses include

expenses of people other than
yourself and your dope ndents?

wide

Uves._ Fill sur this minimum

for each
dependent ...............

a No
L.] Ye~s

Estlmate ¥our Ongelng Monthly Expenses

Dehtor1 or Debtor 2

Depen dent`s relationship to

age

Dependent's

 

 

 

 

 

12!15

Does dependent live
with you?
n No

i,_l‘r‘es
DNO

m Yes
U N_o

El res
D N 0

i;l Yes
[.l

Nr;)
ElYee

Estirnate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case be report expenses as
el a date after the bankruptcy is filed. If this is a supplemental Schedule ..l, check the box at the top el the form and lill in the applicable date.

|rlclude expenses paid for with non-cash govemment assistance if you know the value of
such assistance and have included it on Scheduie f: Your Incemo {OHir.ia| Form 106|.}

4, The rental or horne ownership expenses for your residence |nclude first mortgage payments and any

rent for the ground or lot,

lfnot included in line d:

4a, Rea| estate taxes

4b` Property_. homeowner‘s, or renter's insurance

4c. Horne maintenance repair. and upkeep expenses

4(]. HOH'IE.‘OWHE|"S BSSOCialiOH Ol' COn(§iOmif`lium Ci'L-|ES

Ofiicial Form 106J

https:i'iiubi|eebk. neU#

St:hecfu|e J: Your Expenses

4a.
4b.
lie1
4d.

lieu r expenses
'i'bxW$-WMWW ‘WWMW

5841.63

$U,UO
$U.UU
$100.00

$0.00

page 1

1:'3

10119!2013

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Page: 31 of 56

CE|SB number {'rf known}

Deotor 1 Connie Lynn Hill
Fi!st Name Midclle Narne Last Narne
5_ Addllional mortgage payments for your reside nce, such as home equity loans 5v
61 Ui.i|ities:
6a Elecr.ricily, heat, natural gas 6a
Sb. Water, sewer, garbage collection Bb-
60. Telephone, cell ohone. |nternet. seteliile. and cable services 69
Gcl_ Otner. Specify; Ed-
?. Food end housekeeping supplies 'r'.
84 Childcare and children’s education costs S.
94 Cloil'ling, laundryl and dry cleaning 9_
10. Personal care products and services 10.
11. Medica| and dental expenses ‘l‘l.
12. Transportation. include gas, maintenance bus or train iare,
Do not include car payments 12-
I.'i. Enteriainment. clubs, recreation, newspapers magazines and books 13,
14. Charit.able contributions and religious donations 14.
15. ins urance.
Do not include insurance deducted from your pay or included in lines 4 or 2f1
153 Life insurance 15a
l§ti. Health insurance 15b'
150 Vehicle insurance 15(;`
i§d. Oth er insure nce. Specify: 15a
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 er 2[l_
3 pecl`iy; 15-
17. lnsta||ment or lease payments:
i?a. Car payments for \rehicie 1 173'
‘I}'b. Car payments for Vehide 2 175
1?c. Other. Specify'. 1?°‘
ira oiner. specify 17‘*'
18. Your payments of alimony, maintenancel and support that you did not report as deducted
from your pay on line 5, Schedul'e l, ‘four income (Cii'iicia| Form 406[]. la
19_ Clther payments you make to support others who do not live with you.
3 pecify: 19.
211 Other real property expenses not included in lines 4 or 5 of this form or on Scheduie l: Yourlncome.
20a Mortgages on other property QUe.
ZUD` Fteal estate taxes ZOD.
20a Property, homeowner‘s, or renter's insurance 20c.
2[]d. lu'laintenance, repair, and upkeep expenses 20d.
20a Horneowrier`s association or condominium dues EC|e.
Oriicia| Form ‘l(.`l€.iz - Sched ule J: ‘i'our Expenses

https:lf} ubileebk. netl`#

 

Your expenses

wm MW_m-wi;.-. mmev\'r\.u ;rJWW\K

$zoo.oo
$65_00
s1 eo_oo
$0.00
$soo_oo
$o.oo
$o_oo
$o.oo

$‘l 5000

$1 2{}.00

$5{}.00

$E,DU

$O.UO
$U.[!O
$1 08.£]0
$U.UO

$G.OO

$4 92,55

$0`[]0

$0‘00

$O.UO
$U.UU
$G_IJU
$O.DU
${]_O[]

page 2

21\'3

101'19!2018

Case:13-14643 Doc:l Filed:fi?l§z/le Page: 32 of56

Debior 1 Connie Lynn Hill Case number il'fknnwn)

First Narne Middle Name Last blame

21. Olher. Specity:

 

22 Calculate your monthly expenses
228. Pidd iiriE.\S 4 through 21.
22!'). Copy line 22 {rnonthly expenses for Deblor 2]. ii any, from Of!'ic;ia| Form 106.1-2

22c_ Add line 223 and 22b. The result is your monthly expenses

23_ Caicu|ate your monthly net income.
23a Copy line 12 (your combined monthly income} from Scheduie i.
23b. Copy your monthly expenses from line 220 above

230. Subiract your monthly expenses from your monthly income.

The result is your monthly net income

24. Do you expect an increase or decrease in your expenses within the year after you file this form'?

FO|` example. 00 YDL| E)(|JGCI 10 f|lllSl'| paying for in.||' Ca!' loan Wlthil'l the year O|' dCl FOLI B}(DBCI yl]t.lr
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

melo
El`r'es_

None

Ofiicial Form 106.1 Schedule J: Your Experlses

hitps;l'iiooileeb|<.n-eti¢i.l

 

21 . + $o.oo
223A $2.592:13
22b_ $o,oo
22c. $2,592,13
233v $2,253.24
23!1 h $2,592,18
23a t$336.94}

 

 

 

page 3

313

Page: 33 of 56

Fi|| in i.'nis information to identify yourci_z'ze_

 

 

 

Debtor 1 Connie Lynn Hill

Firsl blame Middle Name Last Name
Debtor 2
[SPOUSE= iff"ii“§l First Name N'|idci|e blame Last Name

Un lied States Ban|<ruptoy Court for ihe: Westem Districl of Dklahnma

 

m Check if this is an
amended ll ing

Caae number
(if known)

 

Officia| Form 1063um

Summary of Your Assets and Liabilities and Certain Statistical
lnformation

Be as complete and accurate as possibla. lf two married people are tiling together, both are equally responsible for supplying correci informat'um. Fi|l out all of your
schedules Erst; then complete the information on this form. |f you are filing amended schedules alisr you tile your original folms, you must fill out a now Summary
and check the box at the top of this page.

msumma rize Your hssets

 

121‘15

 

Yourasoets _
Ua|ueofwhatyou mun
i. Schedule AfB: Property(OFFicial Form 1DBNB]'
1a. Copy line 55, Totai real estate‘ from 53nedulo A/B __ .. . . 14? 500'00
1b. Copy line 62, Tota| personal i:iriopeiiyF from Sohedule A/B 2 699'51

1c. Copy line 63, Totai of all property on Schoduio A/B ________________________________________________________________________________________________________

msummarize Your l...iahilities

 

 

 

$190199.5‘|

 

 

 

 

 

 

 

Oficia| Form 106Sum

 

Your !iabililies
'Hnouni_you owe __
2_ Sohodule D_' Crodiiors Who Hauo Clai'ms Secured by Properiy (thcio| Form 106|3)
23. Copy the tool you listed in column A, miami groom ai the barium m the last page of Paii 1 of Schedoie D ....... _MLW-»Ei
3. Schedule E)F: Creo'i'tors Who Have Unsocureo' C.`iaims (Ofi'icial Fomi 106E!F)
3a Copy the total claims from Part 1 (priorily unsecured claims) from line 69 of Scheo‘ule E/F ...................................... $O'UO
3b. Cc)py die total claims from Part 2 (nonpriority unsecured claims) from line 6j of SChoduie E/i'-' ............................... + §39,539-64
Your total liabilities 5201 921.18
m Sl.lmmarize Your lnl.‘:ome and Expense$
4. Schedule l' Youri'ncome {Oflicial Form 106!)
Copy your oombinod monthly income from line 12 of Scnedule l ................................................................................... +‘$ZM
5, Schedule J,' Your Expensos {Of&cia| Form 106J}
Copy your monh‘i|y expenses from line 22c of Schedui'e J .................................................................................. $2 592‘ 1 3
Surnmary of `Your Assets and Llahilities and Certain Slatistical lnfon'nation page ‘i of 2

Case:18-14643 DOC: 1 Filed:11/02/18 Pagae: 340
Lynn Hill

Debtor 1 Connie Se number (:'§ l<6nown)

First blame l'l.-lidd|e Nalne La$t Narne

 

mAnswer The-se Questlons for Aclmlnis\rati\re and Sl:atistil::al Re¢:ords

6. Are you fdi ng for bankruptcy under Chapters ?', 11. or13‘?
Cl No. You have nothing to report on this part of the form_ Check this box and eubmit this fom'i lo the oourl with your Other Schedules.

id YeS

?. What kind of debt do you have?
w Your debts are primardy consqu debts. Consmnerdebts are those "incurred by an individual pnmarily for a personal
iernily, or household purpoee." 11 LJ.S_C. § 101(8). Fili out lines 8-99 for statistical purposesl 28 U.S.C, § 159.

m Your debts are not primarily consumer debte. You have nothing to report on this part of the torm. Check this box and eubrnit
this form to the oourt with your other sched u|eS.

 

3_ I'-'rom the Sfatement of your Current Mon¢hly lncomec Copy your total cun~ent mond~l|y income from Ol'Ficia|
Form 122;\¢1 i_ine 11; oR, Form 1223 i_ine ii; oR, Form 122c-1 Line 14_ 3309.14

 

 

 

9_ Copy the following special categories of claims from Part 4, line 6 of Schedule ElF:

 

- Tola| clalm
9a Domestic support obligations (Copy line Ee.) $0,00
Bt). Taxee and certain other deth you owe the government tGopy line Gb.} $0\00
Qc_ Cieime for deem or personal injuryl white you were intoxicated {Copy line Bc.) $0.00
Bd. Student |oans. [Copy line B'f_) $0_00
Be.ObiigationS arising out ot a separation agreement or divorce that you did not report as priority $0.00
claims (Copy line og.)
Qf. liteth to pension or profit-sharing plans1 end other similar debte_ (Copy line Sh.) + $0_00
gg. Total. Add lines 93 through 9f. $0.00

 

 

 

Oflicial Form ilJBSurn Summary of Your Asse‘ts and Liabi|ilies and Cerwin Statistical lnfonnation page 2 of 2

 

 

 

 

10!19!2(}13 . Forr?
Case: 18-14643 DOC: 1 Filed: 11 02/18 Page: 35 of 56
Debtor 1 Connie l.ynn Hill
Fi“§t Name l.li:'§ii-.=. lia""-E~ i.a.=-! `.e"'-»? l
Dei:ltor 2
I'E:Jouse il Hling] Fi'."st Nan'ie l,li-:.'-':l-E l*.'a.'r-e Last Nzn“e
Unlted States Banl<ru ptcy Court for the: Wcstem District of Oklahoma
Cese number 3 Checlv. ifth'rs is an

l [ii known] amended filing

 

Otficiel Form 106Deo

Decla ration About an lndividua| Debtor's Schedules 12115
li two married people are filing together, both are equally responsible for supplying correct information

 

You must tile this form whenever you file bankruptcy schedules or amended schedules Making a false statement concealing property. or obtaining money
or property by fraud in connection with a bankruptcy case can result in lines up to $25|],'|]00. or imprisonment for up to 20
years, or both.18 U.S.C. §§152, 1341,1519, and 35?1_

Sign Below

 

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

give

[J Yee_ Name ot person Attach Ban kruptcy Petrti`on Preparer':s Notroe. Declaration. and
S:`gneture (Officiai Form 119)_

tinder penalty of perjury, l declare that l have read the summary and schedules filed with this declaraion and that they are true and correct

 

X

 

Connie Lynn Hillr tor 1. chl:or 1 X
DateM Date w
lum Doi YYYY Mrur nor YYYY
Orli`lcia| Form it]EiDec Declaration About an lndividua| Debtor's Schedu|es

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1)'1

10""9"’-'°‘5 Case:13-14643 Doc:l Filed: 5°1702/18 Page:36 or56

 

 

 

 

Debior 1 Connie Lynn Hill
Flrei blame |uiidd|e blame Laet Nerne
Debior 2
(SpEmSE, if lilil'lg]' Fir.et N.erne Middie Narne Last Name
United States Bankruptcy Coun for inez Westem District of Okiahoma
ease number Cl check innis is an
(if known) amended liiing

 

 

 

Ofiicial Form 107

Statement of Financial Affairs for individuals Fiiing for Bankruptcy runs

Be as complete and accurate as possible If two married people are filing togetl'ier, both are equally responsible for supplying correct infonriation. l‘l more
space is needed, attach a separate sheet to this form 011 the top of any additional pages, write your name and case number {il' known}.Answer every
cy.iestlon.

Give Details About ‘!our marital Status and Wnere You Lived Before

1. What is your current marital status?
D named
bid Not married

2. During the last 3 years1 have you lived anywhere other than where you live now?
l;i No

m Yes. List ail of the pieces you lived in the last 3 years. Do not include where you live now.

 

 

Debtol' 1: Daties Debtor 1 lived Debtcir 22 Dalies neillth lived
there there
n Same as Debtor 1 n Samo as Debtor 1
1409 SW 75th From 09!1512016 me
NUmbeF Sl-YBEl To 0?;19;20?? Ni.li'i'ib€i' Sl|'eei. To

 

 

O|da home City. Oi( ?3‘|59

 

 

 

 

City State ZlP Code City State ZiP Code

U Same as Debt'ori a Sarne as Debtor 1
415 omar conn me Nov 01, 2001 me
Number Slreet To ge 45- 2016 Number Street TD

 

 

St. F’eters, M(J 633?6
City Srare zip Code ciry Scare ZiP Code

 

3. Withlrl the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or berritory?{Commm-riry property series and
territories inciude Arizona, Ca|ifomia. ldaho, Louisiana, Ne\rada, i\iew l\i"l\e)<ioo4 Puerto Rico, Texas` Washington. and W'isoonsin.}

Eno

u Yes. Make sure you fill out Schedule H: Your Codebtors (Ollicia| Form TOBH}.

Oiiicial Form 10? Statement of Financial Aliairs for individuals Filirig for Bantrruptcy page 1

https:!)'jubi|ee bk.neti# 1¢'12

 

11i1i2018 _
Case: 13-14643 Doc: 1 Filed: 'i°iibz/le
Debtor 1 Connie Lynn Hill
First Name lvliddie Name Lasi blame

.. a-z.'=' =g i:.

Expiain the Sources of ‘{our income

Page: 37 of 56

Caee number fif.lrnown)

: 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fii| in the total amount of income you received from all jobs and all businesses including pari- time activities
' |f you are filing a joint case and you have income that you receive iogeiher, list ii only once under Debtor i.

m No
M res Fru in me details

Frorn January 1 of current year until the
date you fled for ha nkrupicy:

For last calendar year:

(Januaryl to Decemoer 31. 201?' }
¥WY

For the calendar year before that:

{January1 to December 31, 2016 )
YYYY

Debtor 1

Sources of income Gross income

Check ell th et ap pi y.

exclusions)

g Wages, commissions

bonusesl tips $23»154-99
UOperatirig a business
m Wages, commissions

bonuses tips §32,1?4.00
DOperaiing a business
g Wages, commissions

bonuses tips 528,2?'4.00

EiOperating a business

5. Did you receive any other income during this year ortho two previous calendar years?
= include income regardless of whether that income is taxable Examp|es of other income are alimo ny; child support; Sooial Seou rity, unemployment and other

public benefit payments.' pensions; rental income; interest dividends; money collected from iewsuiis; royalties and gambling and lottery winnings if you are

filing a joint case and you have income that you received iogether, list ii only once under Debior 1.

g No
g Yes. Fi|| in the detaiis.

From ..lanuary 1 of current year until the
date you filed for bankruptcy:

For last calendar year:
(Januaryl to December 31, 2017 )

Debtor 1

GFDSS il'lDCll"l‘le fl'Ol'l"i
each source

Sources of income

Desori be below.
{before deductions and

(before deductions end

lJebtor 2

Sou rees of income Gross income

Che ck all that apply {before deductions end

exclusio ns)

l:l Wages, commissions,
bonuses, tips

Cl Operating a business

El Wages, commissions
bonuses, tips

UOperating a business

El Wages, comm issions.
bonuses, tips

DOperatlng a business

Debt.or 2

Gross income from
each source

SOU!`CES Of income

Describe below.
{before deductions and

 

 

 

 

 

 

 

 

For the calendar year before that:

 

 

 

 

exciusions] exclusio ns}
Uncmpic\ymerr\ $4,580.00
Cash ed out pension $52,547.00
YYYY
inheritance $?1.593.00
Cashed out pension 542.430.00

(Jahuary1 to Decemi:ier 31, 2016 )

 

YYY\"

Oflicia| Form 10?'

https:fijubileeb kin eti

 

Stetement ot Financial Afl’aire for individuals Filing for Bankroptcy

 

 

page 2

2i'12

10119!2018

Debtor 1

Case:13-14643 Doc:i Fiied:i?t%z/le Page:ee oi56

Connie Lynn Hill Case number nfknown)
First Narne Middie Name Last Nanie

 

List Certain Fayments You |¢‘iade Before ‘(oi.l Filed for Bankruptcy

6. Are either Debtior 1’s or Debtor 2'5 debts primarily consumer debts?

ft No.

m Yes.

Netther Dehtor 1 nor liebth has primarily consumer debts Consumer debts are defined in 11 U.S.C. § 101(3] as “incurred by
an individual primarily for a persona|, tamily, or household purpose."

Dun'ng the 90 days before you filed for bankruptcy did you pay any creditor a total of $6,425* or more?
lLl!ilo. 60 to line ?.

UYes. List below each creditor to whom you paid a totai of $B,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations such as child support and aiimony. A|so, do
not include payments to an attorney for this bankruptcy case.

“ Su bject to adjustment on 4i01i19 and every 3 years after that for cases hled on or after the date of adjustment

Deb'i:or 1 or Dei:itor 2 or both have primarin consumer debts
Duririg the 90 days before you filed for bankruptcy, did you pay any creditor a totai of $600 or more?

l:l No_ Go m iirie 7.

MYes, List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do riot
inctude payments for domestic support obligations such as child cupport and alimony Also, do not include payments to
an attorney for this bankruptcy casa.

 

 

 

 

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
owned
g Mortgage
iii"lr. Cooper Mort_gags Oc’c 01 . 2018 $2_524.89 $116.50\4.42
Creoitors Nanie m Ca"
Pp Box 619094 Sep 01,2013 DCredit card
Number Street E|_oan repayment
__.SL_..J_ _
Da||as, TX ?5261-9094 AU 01 2018 i;lSupp|iers er vendors
City State ZiP Code
l:| oih er
_ . n Mortgage
Sarvicas, Toyota Financia| Gct 16, 2018 $1 _4??_65 $28,88?_63 m
Crodi'lor‘e Name ear
Po cox sess go ie, 2013 Elcrecii card
Nl.l moot Street LJ Loan repayment
Caroi Stream, iL 6019? Au 16 2618 m Supp!iers or vendors
C`ily Stal.e ZlP Code

m Other

T. ‘Nithin 1 year before you filed for bainirrri|:itl::yl did you make a payment on a debt you owed anyone initio was an inelder?

insiders include your reiatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
you are an ofticer. director. person iri con tro|, or owneroi' 20% or more ct their voting securities', and any managing agenl. inc|irdil'ig one for a business you
operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obiigatioris. such as child support and alimony

give

Cl Yes.

List ali payments to err insider,

Officia| Form 10?r Statement of Financial Afiairs fortndi\n'duals Fili`ng for Bankruptcy page 3

https:fijubileebk.netl#

3!12

 

‘l 011 9{201 8 .
Case: 13-14643 Doc: 1 Filed: ffi‘Bz/la Page: 39 of 56
Debtor 1 Connie Lyun Hill Caae number (H= known}
First i\!ame Middle Name |.asi blame
Dates of Total amount Amount you still Rea,son for this payment
payment paid owe

 

lnsider's Name

 

Number Stnaet

 

 

city state zip code

S. ll'\"rthin 1 year before you filed for bankrl.l|:ltcyr did you make any payments or transfer any property cm account of a debt that benelited an insider?
include payments on debts guaranteed ur msigned by an insider.

m No
EIYES. List all payments that benefited an insider.

Dates of Tota| amount Amount you still Reason for this payment
payment paid owe include creditor's n.'=u'l'\\=.l

 

lnsidel“s Name

 

Number Sl:reet

 

 

Ci’ly Sta'te ZfF" Cnde

ldentify Legal Lctlons, llapossss\sions, and Foreclusures

9. tillithin 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or adminisb'ative proceeding? 1
List all such matters, including personat injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modilications, and

 

 

contract dispmes_
53 No
Elves. Fill in the dewitt
Nature of the case Courf or agency Status of the case
Case title m Pei'|ding
Court blame UOU appeal
m Concl uded

 

Nurnb-er Street
Case number

 

city gram zlP code

thc:ia! Form 107 Statement of Flnanc:lal Affalrs for individuals Filing for Bankruptcy page 4

htlps Ffjubi|eebk.net!# 411 2

‘°”9"2°‘8 Case:13-14643 Doc:l Filed:f?i“ibz/la Page: 40 of 56

Debtor ‘l Connie Lynn Hill Case number (iHcri-own}
First Name Midcile blame L.aet blame

ill Wlthin 1 year before you died for bankruptcy was any of your property repossessed fclre<:l¢'.\s'edl gamlshe€l, ettached. seized, or levied?
Check all that apply and fill in the details beiow.

Eino. on m line 11.
[| Yes. Fiil in the information beinw.

Describe the property Date Vaiue of the property

 

 

Creditor's Name

 

Number Street Exp|ein what happened

Cl Property was repossessed
[I Properly was foreclosed

 

0 Property was garnished
city ama zip guide El Property was attached, seized or levied

 

11. Within 90 days before you filed for hankruptc:y, did any oredil;or, including a bank or linanc'ca} inslih.rlion, set tiffany amuunl.s from your accounts or
refuse to make a payment because you owed a deb‘l?

gm
Cives, i=ill in the details

Descrlbe the action the creditor took Date action Amount
was taken

 

Croi:litor's Narne

 

 

Number Slreet

 

city state zip code
Lest 4 digits of account number; KXXX- _ _ ____

12. lillithin 1 year before you died for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors a court-
appointed reoelver, a custodian, oranother ol'|icie]?

E] mi
n Yes

List Cel’tail'l Gif‘B and Confrihl.ltiolls

13. Within 2 years before you filed for bankmptcy, did you give any gifts wlth a total value of more than $600 per person?
g No

Gves_ Fili in the details for each gift

Oilicia| Form 107 Staiement of Financ:ial Atfeirs for individuals Filing for Banlm.lpbcy page 5

https:iijubi|eebk.neti# 5i 12

 

1 011 9/`20‘¥ 8 . F
Case: 13-14643 Doc: 1 l=lled: 11“76‘2/18 Page: 41 of 56
Debtor 1 Connie Lynn Hil Case number (l'rknorvn)
First Narne lviiddle blame Last Nalne
Glfts with a total value of more than $60|] Desoribe the gifts Dates you gave Vali.le
per person the gifts

 

 

Pereorl to Wi-lom You Gave the Gil“l:

 

 

 

Nl_lmber Streei

 

City State Zl P Code

Person’s relationship to you

14. 'l|'llithin 2 years before you filed for bankruptcy did you give any gifts or contributions with a total value of more than $600 to anyr oharity?
m No

ElYes. Fill in the details for each gift or contribution

 

 

Gifis or contributions to charities Descrihe what you contributed Date you Valoe
that total more than $Bt}ti contributed
Charitys Name

 

 

 

Nl.lmber Slreel

 

city sss zlP code

List Certain Losses

15. lh'ithtn 1 year before you filed for bankruptcy or since you filed for l:lanl<rl.lpt\‘:yl did you lose anything because of theft iire, other disaster, or

gambling?
m No
Elves. Fill in me details
Descrihe the property you inst Describe any insurance coverage for the loss Date of your ioss 1li'all.le of property inst
and mma was mm include the amount that insurance has paid List pending

insurance claims on line 33 of Schedoie A!B: Pmperty.

 

Oiiioiai Form 107 Statement of Finanoial A.ffairs for individuals Filing for Bankruptoy page 6

https :!iju bileebk.neti‘# 6!'12

"‘“9’2‘"8 Cese:13-14643 Doc:l l=lled:fi*it)z/le Pege: 42 or 56

Deblor 1 Connie Lynn Hill Case number (if known)
Firet blame Midd|e Name La.st blame

List Certain Fayments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted

about seeking bankruptcy or preparing a bankruptcy petition?
include any attomeys. bankruptcy petition preparers, or credit counseling agencies for services required in your ban kmptcy.

m No
M Yee. Fili in me dereile_

Descnptlon and value of any property transferred Datle payment or Amount of payment

iviery Travis, Atiorney et Law transfer was made

Person Who Was i-"aid Attorney"s Fee

2011 Wesl Daniori“h Road 101
Number SUBet

Clct 00. 2018 $BUU.UO

 

Edmond, Oi( ?3003
city state zlP code

mery@marytravis.oom
Entai| or wabsite address

 

Person Who Nlade the Payment, if Not You

1?. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to

help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

Ene

l;i vee. Flll in the deieile.

Desu'iption and value of any property transfen'ed Date payment or Amount of payment
transfer was made

 

Porson Who Was Paid

 

 

 

Number S|raet

 

 

C`lry Stale ZIP Code

18. Wlthin 2 years before you tiled for barlkrupff=¥. did you sell. trade, or otherwise transfer any property to anyone, othertnan property transrened in the

ordinary course of your business orfinancial affairs?
include both outright transfers and transfers made as security (sl.,il;:h as the granting of a security interest or mortgage on your property).

Do not include gifts and transfers that you have already listed on this statement

grid

UYes. Fii| in the detaiis,

Oi~licial Form 10? Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

https:iijubil eebi< .n eti# 7112

"’"2‘“8 Case:13-14643 Doc:l Flled:Fl”tToz/le Page: 43 ol56

 

-Debtor l Con nie Lynn Hill Case number (l'f known}

' First blame Midd|'e blame Last blame
Description and value of property Descrihe any property or payments Date transfer was
transferred received or debts paid in exchange made

 

F‘el'son Who Received Tran sfer

 

N'|.|mboi' Si.i'EEl

 

 

Cily State ZiP Cod'e

Parson's relationship to you

19. Within 10 years before you E|ed for bankruptcy did you transfer any property to a self-settled trustor similar device of which you are a henefic:iary?

[These are often called asset-protection devices.)

EdNo

[_`] Yes. Fill in the detailsY

Description and value of the property transferred Date transfer was
ma de

Nan"ie of trust

 

§imr air List Certain Financial Accoun'ls, Inetrumonts, Safe Depoei'l Bm¢ee, and St:orage Units

 

20. Within 1 year before you filed for bankruptcy were any financial accounts or instruments held in your name, or for your beneiit, closed, soldl moved,

or transferred?

include checkingr savings money market or other financial accounts; certificates of deposit shares irl banks credit unions, brokerage houses pension funds

cooperatives associationsl end other financial institutions

[:l Nc
M Yes. i=ill in the details

 

 

 

Laet 4 digits of account number Type of account or Date account was Last balance
instrument ciosed, sold, moved, or before closing or
transferred transfer
blame of Flna nehi institution Xxxx,_ [:l Checki n g 03;08'{201? $62‘647'00
i:.l Savlngs
Nurnber street l_'lltlionoy market
l__l Brokerege

 

Retirement
mother Accourit

 

city stare zip code

Otnc'la| Form 10? Staternent of Financial Affairs forindividua|s Fi|ing for Ba nicruptcy

https:!l'j ubileebk.net!

page it

8!12

19119’2013 Case: 18-14643 DOC: 1 Filed: Hi®Z/l$ Page: 44 of 56

Deblor1 Connie Lynn Hill Case number (ifknown)
Firsl Name Midd|e Name |.ast Name

21. Do you now have, or did you have witi'lin 1 year before you Elec| for benkruptcy, any safe deposit box or other depository lfor securities, caeh, or other

 

 

 

 

valuables?
m No
[l‘r'es. Fill in the detai|s.
Who else had access to lt? Describe due contents Do you still have
it?
ll No
iam of l=inaneial insulation came ElYes
Number Slreet N\lrrlbar Stree‘l
city slate zlP code

 

Ci¢y S!Ia'|)e Z}P Cude

22. l-lave you stored property in a storage un il or place other than your home within 1 year before you filed for bankruptcy?
w No

L_.l~res. Fm in me scene

 

 

 

 

Who elec has or had access to ii? Dascriho the contents 53 you still have
l
a No
Name of Storage Facility Name DYBS
Numher Sh'eef Nurnber S/tmot
city same zlP code

 

city see zlP code

ldenl:ify Property Yol.l Hold or control far Someone Elee

23. Do you hold or control anyr properly that someone else owns? include any properly you borrowed from, are storing for, or hold in lrust for someone.

ENO

[}Yes. Fm in the details.

 

 

 

 

 

 

Where is the property? Descrihe the property Va|ue
Dwner‘s Name Number Strw
N umber S-‘lroet
city see zlP code
Cily State ZlP Code
Oflicie| Form 10? Slatement of Financial Af€airs for lmlividua|s Filing for Ean kruptcy page 9

https:,‘ijubileebk.net!# 9!12

1°’19'2°13 Case:13-14643 Doc:l i=lled:ffl‘tlz/la Page: 45 oi56

Debtor 1 Connie Lynn Hill Case number (if known,l
Fi'rst blame Middla Nari'ie Last blame

Give Details Ahou't Emrironi:nental information

 

 

For the purpose of Part 1[|, the following definitions apply:

Envi'roiirrienl‘al law means any federa|, stata, or local statute or regulation oonoeming pollutionl oontamination, releases of hazardous or toxic
su i'.'»star'lr:es1 wastes, or material into the air, |and, soi|, surface water, groundwater, or other medium, including statutes or regulations controlling the
cleanup of these substanoes. wastes or material.

538 moore any location facility Or property as det`ln ed under any environmental law. whether you now own. operate. or utilize it or used to own, operate
or utilize it. induc|irig disposal sitesv

Hazardcus material means anything an environmental law delines as a hazardous waste. hazardous substi.=lnr:l=:v toxic substance hazardous materiel.
pollutantl contaminantl or similar tarir'l.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred
24. Has any govemlrlental unit notitiei:l you that you may be liable or potentially liable under or in violation ot an environmental laiir?

due

[| Yes. Fiii in lite deiaiis.

 

 

 

Govemmenta| unit Environmerital lavii, il you know it Date of notice
Name of site Govemrnen‘ta| unit
Ni.imher St.reet Nurnber Sheet
Cily S'tilte ZlP Code

 

ciiy stale zip code

25. Haire you notified any governmental unit of any release of hazardous materia|‘?
m No

Ll Yes. Fili in lite details

 

 

 

Governmental unit Emrlronnnnta| law, ifyou know it Date of notice
blame ot she Goiiemmerital unit
lilurnher Street Numher street
Cl‘ty Shte BP Code

 

city sole zir- code

26. Have you been a party in any judiciat or administrative proceeding under any environmental law? lm'.lude settlements and ordera.
g No

Dres. rail in ina details

Oflic`ia| Form lG'i' Statemerit of Financial Affairs for lndividuals Filing for Banlrruptcy page 10

https:t‘!j ubileebk.net!# 101'12

 

 

 

 

1 OH 9!20‘| 8 .
Case: 13-14643 Doc: 1 i=iled: Hlbz/la Page: 46 of 56
Del:ltor 1 Connie l..ynri Hill Cese number (rrlmown)
Fi'rst Narne lilliddle blame l_ast blame
Court or agency Nature of the case Statos ofthe case

Case title [;lPending

Court Name non appeal
Elconciuoad

l'li.imber Street

Casa number

C-lty State ZIF Code

Give details Moi.it Your Buslneas or Conriei:tions to Any Business

2?. W`ithin 4 years before you filed for bankruptcy did you own a business or have any of the following connections to any husiriess?

i:l A sole proprietor or self-employed in a trade, profession or other aciiirity, either tull-time or part-time

n A member ot a limited liability company (LLC) or timith liability partnership {LLP]

Ll A partner in a partnership

n An oii'ioer, director, or managing executive of a corporation

ij Ari owner of at least 5% of the voting or equity securities of a corporation
m No. None of the above applies Go to Part 12_
[l‘i‘as. Check all that apply above and fill in the details below for each business

Descrihe the nature of the business

 

blame

 

Nurnber Sti'eet
blame ot accountant or bookkeeper

 

 

city sims zip code

Employer identification number
Do not include Soelal Security number or lTlN.

ElN: __w___,~_______._.
Dates bushessexlsted
Frorn _______To

28. W'rthir\ 2 years before you filed for bankmptcy, did you give a iinancial statement to anyone about your husirless? include all financial institutions

creditors, or other parties.
mile

m Yes. Fil| in the details below.

 

 

 

 

Date issued
Nane Mll l DDl \'\'¥Y
Nurnber Sneet
city stale ziP code
Ofliciai Form 10? Statement of l`-'lnanclal Afialrs for individuals Filing for Bankruptcy page 11

https ulrjubi|eebk .netl‘#

11!12

1°"9"2°*8 Case:13-14643 Doc:l Filed: 1Ffi52/18 Page: 47 of 56

 

Debtor 1 Connle Lynn l'lill Casc number (if kmwn;
Firsl Name Midd|e Nama Lasl blame
Sign Below

 

l have read H'le answers on this Statemem‘ol'Fl'nancial allth and any atlachmenls, and l declare under penalty of perjuryr that the answers are true
and correct.l understand that making a false statemem, concealing propeny, or obtaining rmmey or propeny by fraud in connection with a
bankruptcy case can mut in lines up to $25|},|300, or imprisonment for up to 20 years, or both. 18 l.l.S.C. §§ 152, 1341, 1519, and 35?1.

)( &rvrd:£vr@}(l(d~ X
SigMnGs}Lynn Hill1 Debtor 1 Signaiure of
Dale ja _zc‘ °Zq z Dale

 

Dld you attach additional pages to your Statemont othnancialAli'aim ibr lndl'w'duals Flllng for Bankmpticy {Ol’hchal Form 107}?

 

m ND
[I Yes
Did you pay or agree to pay someone who is not an anomey to help you fill out bankruptcy iorms?
m No
Attac+i the Banlcrup¢cy Petition Preparer's Noiice,
EIYes. Name of person Declarah`on, and Signar.'..rre (Oflicia| Form 119).
Ochia| Form 10'.-' S|ztamant of Finaneial Affsirs for lndividuals Filing for Bankmptcy page 12

https:¢‘!ju bi |eebk.ne£f#

12!12

Fii| in this information io`iclei‘riif~_rr yoi.crr_..ess: PB.Q€I 48 Of 56

 

 

 

 

Debtor 1 Connie Lynn Hill
F`irst Nan'ie M'rdd|e Nan'ie i_ast Name
Debtoi 2
(Siiowse. if filirio> i=irsi blame r~iiiddie blame Last Name
United Steies Bani<ruptcy Court for the: Western District of Cik|ahon"ia
Cese number U Ciiec.k ii this is an
(if known) amended hling

 

Official Form 108
Statement of lntention for lndividuals Filing Under Chapter 7 izns

if you are an individual filing under chapter r, you must till out this form if:
n creditors have claims secured by your |:iropertyl or
n you have leased personal property and the lease has not expired.

You must tile this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors whichever is eai1ier, unless
the court extends the time for eause. You must also send copies to the creditors and lessors you list orr the fonn.

lf two married people are liling together in a joint oase, both are equally responsible for supplying correct information Both debtors must sign and date the forrri.

Be as complete and accurate as possihie. if more space is needed attach a separate sheet to this form. 011 the top of any additional pages, write your name and case
number (if kno\iirn}.

 

m List Your Credltors 'iiiilio Ha\re Seeured Glaims

1_ For any creditors that you iisted' in Part 1 of Scirodr.ile D: Creditors Who Have Ctar'ms Secured by Property {Oi’fioial Form tiltil:l}, fill in the information below.

identify the creditor and the property that is oolla_tera| What do you intend to do with the property that secures a Dir_:l you clai'n the property as
_ _ z - ._ deht‘? _ _ _ _ _ exempt on Schedule C?
creditors C_l eurrender ihe property M No
name: SBNMS’ hyde Fm""m'a' il Retain the property and redeem ii. U' Yes
Descripiion of w Retain the property and enter into a
progeny Rea!i‘inneiion Agreemeni.

securing debt . _ _
Ll Retain the property and [explain].'

Creditors 3 Sunenderthe property n No
mmi - Mr' C°°per M°rtgage - Ll Retein the property and redeem ii. m Yes
Description of Lot wine [9} in El|ock Three {3] Royce w Retain the property and enter mo a
property Brown's Tropicana Village, an addition Reammanon Agmgm@m_
Securing debt to Bethany Oklahoma County

Ok|ahoma according to the recorded m R‘°"‘E"'n the p"OPEFtY and le"P'ai"]?

plat thereof, known as 78th NW 29
Stieet, Betheny OK
ram Nw zsth perhany, ch trees

thcial Form 108 Staternent of intention for individuals Filirrg Under Chapter 7 page 1

 

 

febth Connie Ca$pn18-14643 Ililoc: 1 Filed: 11/02/ 18 Pag:ese¢i@roir&@.wwn)
First Na me Middle Narne Lerst Name
-Additionai Pege for Part 1
Creditor's g Sun‘ender the property g No
name: Comrnunieation Federal Credit Unlon |:l Remin me property and redeem n n YES
Deiscriptjon of 2016 Nissan Attirrra :l Retain the property and enter into a
property Real‘fimiation Agreement_

securing debt

thcial Forrn 108

D Retain the propertyr and [explain]:

Statement of intention for lndividua|s Filing Under Chapter ?

PEQE

Debt0r1 Connie §:a<_l~xrx_r_n] 8_] 4643 l_-E!QC- ] E`||ed- ]][02/13 Pa@`@s_e§@np_)$‘@’@nown)

Firsl Narne Middle Name Lsst l\lame

m List Your unexpired Fersona| Property Leases

For any unexpired personal property lease that you listed ln Schedule G.' Executo.ry Gontracts and Unexplred Leases {Otl‘lclal Form 1066}, fill ln the lnfonnatlon
below. Do not list real estate leases Unexpirved leases are leases that are still in effect; the lease period has notyet ended. You may assume an unexpired personal
property lease ifthe trustee does not assume if. 11 U.S.C. § 365{1:\){2}.

oenpri_bey§`ur umpir_ed pemnapmpenyvases __ _ ' . ' wilmeleambeasmeq? _

Lesso¢‘s narne; Cl No
m Yes

Descripliorl of leased

molive

Lessofs name: L_l No
m ‘r‘es

Description of leased

properly-

Lessot‘s name: § NC,
l Yes

Descriplion of leased ;'

DFODSFTYZ

Lessors name: m No

. _ El Yes

Descnptlon of leased

PFOPB"W`-

Lessofs name; \;l No

. . L;l Yes

Descnptlon of leased

property

Lessor`s name: L;l No
m Yes

Descn`plion of leased

property:

Lessor`s name: m No
El Yes

Descnph'on of leased
DrOPE\'TYI

m Sign Below

Under penalty of perjury l declare that l have indicated my intention about any property of my estate that secures a debt and any personal property that
is subject to an unexpired lease.

 

X

Slgnatur'e o'l Debl Signalure of Debtor 2

Date@;@"j_ Da;e_______
MMF DD YYYY MM," Dl:]lF WW

 

Ofl'rclal Form 108 Statemant of lntentlon for lnclividuals Filing Under Chapter? page 2

Case: 18-14643 DOC: 1 Filed: 11/02/18 Page: 51 of 56
32030 {Form 2030) (12115)

Unitcd Statcs Bankruptcy Court

WESTERN DISTRICT OF OKLAHOMA

ln re
Casc No.
Hill` Connic Lynn
chtor Chaptcr 7

DlSCL.OSURE OF COMPENSAT[ON OF ATTORNEY FOR DEBTOR

l. F‘ursuant to `l l U .S.C. § 329(a) and ch. Bank. P. 20 io{b}. I certify that l am the attorney for the above
named dcbtor(s) and that compensation paid to mc within onc year bcforc the filing ofthc petition in
bankruptcy or agreed to bc paid to inc, for services rendered or to bc rendered on behalf of thc debtor(S`)
in contemplation of or in connection with thc bankruptcy case is as follows:

For legal scrviccs, l have agreed to accept .............................. 5800,00
Prior to the filing ofthis Statcmcnt l have received . ...................... $800.00
Balance Due ..................................................... $0
2. The source ofthc compensation paid to me was:
E chtor m Othcr (specif_v)
3. The Solirce of compensation to be paid to me is:
m chlor i:i Othcr (specify)
4. i:i l have not agreed to Sharc the above-disclosed compensation With any other person unless they arc

members and associates ofmy law firm.

m l have agreed to share thc above-disclosed compensation with a other person or persons Who arc not
members or associates ofmy law finn. A copy of the agreement, together with a list of the names of the
people sharing in the v:;on‘ipr-:ns.ationq is attached

Case: 18-14643 DOC: 1 Filed: 11/02/18 Page: 52 of 56

5. ln return for the above-disclosed fee. l have agreed to render legal service for all aspects of the
bankruptcy case‘ including:

a. Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining '\vhether to
tile a petition in bankruptcy;

b. Preparation and filing ofany petition, schedules, statements ofaffairs and plan vvhich may be required:_

c. Representation ofthe debtor at the meeting of creditors and confirmation hearing and any adjourned
hearings thereof;

6. By agreement with the debtor{s), the above-disclosed fee does not include the following services

P’

The filing fee;

b. The fees for the consumer credit counseling classes.

CERT|F¥CATION

l Cerlil`y that the foregoing is a Complele Slalet‘nettl ol`any agreemenl or a_tTangcment for payment to mc for representation of
the debtor(s} in this bankruptcy proceeding

 

ma i is new a O,W\_

v ' 7

Daie Si' tenneco ironn>v
£’ .

Nnme q,{!'rzw_,{irrr Mar)-‘A. Travi`s'. .»i£to!'ney at an

 

 

 

 

 

 

 

 

 

 

‘l Ol ‘i 9)201 8 . For
Case: 18-14643 DOC: 1 Filed: 11762/18 Page: 53 of 56
Dobior 1 Connie Lyriri Hill _ _
f .
Firsi blame |`vliddle Namo Last blame m 1' There ls no presumphon o abuse
garner 2 n 2. The calculation to determine if a presumption
3 ml -m-n F- N M-dd| N L m of abuse applies will be made under C.hspter 7
( non ` " m m ama l 9 me as ama deans reconciliation ioaiciai Form izzo-21
United Stales Bar'ilii'uptcy Court tor the: Westorn District of Oltlahoma
n 3. The Meons Tosl does not apply now because
Case number or quaiiiied military service but it could apply later_
(if known)

 

 

 

Ofl`icia| Form 'i22A-'l

 

 

m Chock if this is an amended filing

Cl'iapter 7 Stal:ement of Your Current MonthLy lncome izns

Bo as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. |f more space is needed,

attach a separate sheet to this fon‘i'i. include the line number to which the additional information applies. On the top ol any additional pagos, write your name

and case number lif known). lt you believe that you are exempted from a presumption of abuse because you do not hiaii.=.l primarily consumer debts or
because of qualifying military sawioe, complete and file Statamerit ofExompti'on from Presumpfion of Abuse Under§ 707{£:}[2} (Dfl‘ii::ial Fomi 122.A-1$i_ipp}

with this form.

Calculato Your Current Monthly income

 

1 . Wtiat is your marital and filing status? Check one on|y.
g Not married. Fill out Coiu mn A. lines 2-‘| 1 .
n Married and your spouse is hung with you. Fill out both Co|urnns A and B, lines 2-1‘l,
L] Married and your spouse is NOT filing with you. You and your spouse are:

Cl L.iving in the same household and are not legally separated Fil| out both t;olumn n and B_ lines 2-1‘i.

Ul.jving separately or are legally separated Fil| out Co|umn A, lines 2-ii; do not Fi|l out Column B. By checking this box_ you declare
under penalty of perjury thai you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse srs living apart for reasons that do not include evading the l‘vleans Tesi requirements 11 U.S_C. § ?'o?(b)(?’)(B}.

Fill in the average monthly income that you received from all sou rees, derived during the 6 full months before you tile this bankruptcy case.11
U.S.C. § ii]‘i [iDA}. For example. it you are filing on Sepieinber 15. the 6-month period would be lv'larch ‘l through August 31. if the amount cl your
monthly income varied during the 6 monihs, add the income for all 6 months and divide the total by 6. Fil| iri the result Do riot include any income amount
more than once. FOF example if both spouses own the same rental property, put the income from that property in one column on|yr ll you have nothing to

report for any line. write $0 in the space

 

 

 

Coiumn A Co.‘umn B
Debior 1 Debtor 2 or
non-filing spouse

2. your gross wages. saiary, iips, bonuses overtime, and commissions (before ali $3,309_14

payroll deductions}.
3. Alimony and maintenance payments if Column B is tilted in. Do not include payments 50'00

from a spouse
4_ All amounts from any source which are regularly paid for household expenses of you or

your dependents, including child supporL include regular contributions from

Eri unmarried partner, members of your household1 your dependents parents and

roommates. include regular contributions from s spouse only if Co|umn B is not filled inv Do $ 00

not include payments you listed on line 3. 0'
5. Net income train operating a husiness, professioi‘il or

fa"'" center 1 ne later 2

. . $O.DU
Gross receipts (betoi'e all deductions}
. . ' $0.00 -
Ordinary and necessary operating expenses
Nei monthly income from a business professionl orfsrrri $'U'Du E'Di>it $o_oo
em _r
B. Net income from rental and other real properly Deb¢or 1 gebwr 2
. . U_DO
Gross receipts (belcre all deductions} $
_ . - $0.00 _
Ordinary and necessary operating expenses
Net monthly income from rental or other real property SO‘DO :;Jmi $o_oo
re -'-

?. interest dividends and royalties $U.OO
Oil'icisl Form 122»“\-1 Cliaptor 7 Statemont ot Yo ur Cu rrerit Morrt‘hly lncome page 1

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1 01"19)'201 8 . r
Case: 13-14643 Doc: 1 i=iied: fi}lbz/ls Page: 54 or 56
Debtor 1 Connle Lynn Hill Case number illicitan
First Na roe Micld|e blame Last Name
Column A. Colui'nn B
Dei:itor 1 Debtor 2 or
non-filing spouse
B. Unempioyment compensation $0.0U
Do not enter the amount if you contend that the amount received was a benefit under
the Social Secunty Act. instead list it here: .................................................. l
For you ................................................................................... $U.Ul]
For your spouse ......................................................................
9. Pensior'l or retirement income. Do not include any amount received that was a benefit $0.00

 

under the Social Security Act.

10. lncome from all other sources not listed above. Specify the source and amount
Do not include any benefits received under the Socia| Sscu¢ity Act or payments
received as a victim of a war crime. a cn'rne against humanity, or international or
domestic tenorism. |i' necessary list other sources on a separate page and put the total
oelo\iv.

 

 

 

 

`fotal amounts from separate pages ii any. r- +

11. Catcu|ate your total current monthly income. Add lines 2 through 10 for each $3‘309'14 + ______ =

column. Then add the total for Column A to the total for Coiumn B.
Tata| current

monthly income

.\

Determine tltlhether the Means Test Applies to You

 

12. Ca!cu|ato your cun'ent monthly income for the year. Fo flow these steps:

128- COPY YOHFtUtE| current monthly income from line 11 Copy nne- 11 here_» M
ivluitiply by 12 (ihe number ot months in a year), x 12
12b. The result is your annual income for this part of the form_ 12h $39 709 53
1 .

13. Catcutate the median family income that applies to you. Fol|ovv these steps:

Fi|l irl the state in which you live. Oir|ahon'ia

Fill in the number of people in your household ‘l

Fii| in the median family income for your state and size of household .................................................................................................. 13. $46,169.00

`i'O find a list cf applicable median income amounts go online using the link specified in the separate
instructions for this form. This list may also be available et the bankruptcy clerl<'s ottice_

14_ How do the lines compare'?

143 EdLine 1213 is less than or equal to line 13. On the top of page ‘l, oi'ieck box ‘l, There is rio presumption of abuse
Go to Part 3.

‘l¢lb. n Line 12b is more than lino 13. On the top of page 1, check box 2, The presumption ofahuse fs determined by Form 1223-2
Go to Part 3 and l'l|l out Form 122A-2.

Sign Betow

 

By signing here, l declare under penalty cf perjury that the information on this statement and in any attachments is true and correct

x 1 mn%(;dd , X
Signal'.u Wfi

 

Signature of Deblor 2

Date 1 0.-‘19!2|]18 Date __________
_nnrc'n"inv_v_ MWDDJ'YYY"‘
it you checked line 14a do NOT fill out or file Form 122A_2_
it you checked line 14b, till out Form 122A-2 and me it with this form_
Ofl“lciai Form 122»€\-1 Chapter ? Steternent of ‘rour Current Mo nthly income page 2

https:!ljubi|eebk.neti# 2i2

1°’19”2°18 Case:13-14643 Doc:l Filed:fi'/©z/la Page: 55 of56

|N THE UN|T'ED STATES BANKRU P'TCY CDURT
WESTERN DlSTRiCT DF OKL.A|~IDMA
OKLAHOMA CITY DlVISlON

|N RE: Hi||, Connie Lynn CASE NO

CHAPTER T

VER|F|CAT|DN DF CREDITDR MATRIX

The above named Debtor' hereby verifies that the attached Fist of creditors is true and correct to the best of his.“her knowledge.

 

gale {'$§‘ 25 ’ 426(§ Signalure - L§_L
Connie Lynn Hil|, Debtc\r

https:h'jubiieebk.n eb'#

111

Case: 18-14643 DOC: 1 Filed: 11/02/18 Page: 56 of 56

American Express
Po Bo:< 650448
Dallas, T>< 75265-0448

Bank of America Master€ard
Po Bo>< 851001
Dal|as, TX 75285-1001

Bank of America Visa
Po Bo)< 851001
Dauas, T)< 75285-1001

Bank of American Rewards
MasterCard

PO BO>< 851001

Dauas, T>< 75235-1001

Best Buy Credit Card
Po Bo>< 9001007
Louisville, KY 40290-1007

Communication Federal Credit
Union

4141 NW Expressway 200

Oklahoma Cit\,', O£< 73116

Mr. Cuoper Mortgage
Po Box 619094
Dallas, T>< 75261-9094

Toyota Financia| Services
PO BOX 5855
Carc| Stream, IL 60197

